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1                     UNITED STATES DISTRICT COURT

2                       DISTRICT OF MASSACHUSETTS

3                                         No. 1:10-cr-10288-MLW

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5

6    UNITED STATES OF AMERICA

7

8    vs.

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10   TIMOTHY MOYNIHAN

11

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13                                *********

14
                          For Jury Trial Before
15                      Chief Judge Mark L. Wolf

16

17
                          United States District Court
18                        District of Massachusetts (Boston.)
                          One Courthouse Way
19                        Boston, Massachusetts 02210
                          Wednesday, October 26, 2011
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1                                 I N D E X

2

3        WITNESS                    DIRECT     CROSS    REDIRECT        RECROSS

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 1                 P R O C E E D I N G S

 2                 (Begins, 9:00 a.m.)

 3                 THE CLERK:      This is Criminal Number 10-10288,

 4   the United States of America versus Timothy Moynihan.

 5   The Court is in session.          You may be seated.

 6                 THE COURT:      Good morning.      Would counsel

 7   please identify themselves for the record.

 8                 MR. LEVITT:      Peter Levitt on behalf of the

 9   government.      Good morning, your Honor.

10                 MR. SULTAN:      Good morning, your Honor.           James

11   Sultan and Audrey Grace for Mr. Moynihan, who is

12   present.

13                 THE COURT:      Okay.

14           A couple of things before we get the jury and all

15   the jurors are here.         When I told the jurors we might

16   sit next Tuesday afternoon, I forgot that that was

17   November 1st, the first Tuesday of the month, and

18   therefore I have to preside in a court meeting on

19   Tuesday afternoon.        What I propose to do is ask the

20   jurors if they are available to sit tomorrow afternoon,

21   if necessary, to essentially maintain the schedule and

22   tell them we won't sit next Tuesday.

23           Does anybody have concerns about that?

24                 MR. SULTAN:      Your Honor, the only issue I want

25   to raise with respect to the schedule has to do with
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 1   Monday.     Monday is Halloween and some of the jurors may

 2   well have activities with their children in the late

 3   afternoon on Monday.         I know I was hoping to have an

 4   activity with my children, young children, in the late

 5   afternoon on Monday.         I would hope the Court would not

 6   sit, um, late in the day on Monday.

 7                 THE COURT:      Well, what do you consider late in

 8   the day?

 9                 MR. SULTAN:      After 3:00, your Honor.         And we

10   can go tomorrow as late as the Court would want.                   I

11   think we're in good shape.

12                 THE COURT:      Well, okay, I'll be sensitive to

13   that.     I'm just concerned because I also realized I'm

14   obligated to teach a class next Wednesday afternoon.

15   But we'll see where we are.           We'll go a day at a time.

16   Times have changed since I was a young father, but

17   probably for the better.          This should be doable.           Let's

18   just -- I'll have Mr. Hohler talk to them at 11:00 about

19   whether sitting tomorrow afternoon is a problem and

20   we'll get this straight.

21                 MR. LEVITT:      And, your Honor, when you say not

22   sitting Tuesday, you mean not sitting after --

23                 THE COURT:      Not sitting after 1:00.

24                 MR. LEVITT:      Yes.

25                 THE COURT:      All right.
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1            Then very briefly, and we'll discuss this more,

2    um, I realized yesterday, when the indictment was read,

3    that it alleges that the conspiracy involved more than

4    28 grams of cocaine.

5                  MR. LEVITT:      Of cocaine base.

6                  THE COURT:      Of cocaine base.       Excuse me.

7            Am I correct that that amount raises the maximum

8    possible penalty?

9                  MR. LEVITT:      It does, your Honor.        In this

10   case it raises the maximum from 20 to 40, and then the

11   government has also filed an information, pursuant to

12   Section 851, which raises it to life.              So the maximum

13   sentence on Count 1 is life.

14                 THE COURT:      All right.     Therefore, the jury

15   has to decide the amount.

16           Is the government asking for a special verdict

17   form and, in effect, a lesser included offense charged

18   that would permit the jury to find that the defendant

19   was engaged in a conspiracy but one that involved less

20   than 28 grams?

21                 MR. LEVITT:      What I typically do and what I

22   think I would do in this case is, yes, a special verdict

23   form, um, that would say, "(1) was the defendant

24   involved in a conspiracy to possess with intent to

25   distribute cocaine base?          If you answer 'yes' to that
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 1   question, answer Question 2, did the overall conspiracy

 2   involve 28 grams or more of cocaine base?"               All right?

 3   That's how I would phrase it in this case.

 4                 THE COURT:      And would the defendant have any

 5   objection to that?

 6                 MR. SULTAN:      Well, I think that's the right

 7   form, your Honor.        I think the question is whether the

 8   defendant, um, agreed to distribute 28 grams or more.

 9                 THE COURT:      Yes, I mean it would have to be --

10   it would have to be -- the instructions would have to be

11   proper instructions.

12                 MR. SULTAN:      But I think in terms of format, I

13   think that's exactly the right way to do it.

14                 THE COURT:      Okay.    So it would be possible --

15   the one thing I want to clarify is it would be possible,

16   in that circumstance, for the jury to find the defendant

17   guilty of a conspiracy, but not one that triggered the

18   higher maximum sentence.

19                 MR. SULTAN:      I think that's correct, your

20   Honor.

21                 THE COURT:      Okay.

22                 MR. LEVITT:      And, your Honor, just to forecast

23   it.    If Mr. Sultan's suggesting that the phrasing of the

24   special verdict should be -- other than what I said,

25   should be, "Did the defendant agree?"              I submit that's
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 1   wrong, because the issue is --

 2                 THE COURT:      Well, here's -- I just wanted to

 3   surface it and I don't want it to keep the witnesses and

 4   the jurors waiting.

5            I want you to confer and, you know, I'm going to

 6   need some -- I want you to give me the proposed verdict

 7   form, although I think it's pretty simple, and I want

 8   you each to give me -- you know, to talk to each other.

9    We may avert -- you know, we may be talking shorthand

10   here.     But I want you to give me a proposed jury

11   instruction so if you have a substantive difference,

12   I'll resolve it.        Because this case is going relatively

13   fast.     I'll be instructing the jury probably early next

14   week.     And I don't want this to be dealt with at the

15   last minute for the first time.            All right?

16           So since I saw you last, I understand I have some

17   materials related to the cross-examination of

18   Mr. Finley.

19                 MR. SULTAN:      Those are the materials the Court

20   asked me to provide ex parte.

21                 THE COURT:      Right.

22                 MR. SULTAN:      That's cross-examination of

23   Special Agent Bencken, your Honor.

24                 THE COURT:      Of Bencken.

25                 MR. SULTAN:      Right.
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1                   THE COURT:     Okay.    And some additional Jencks

2     for Mahoney, right?

3                   MR. LEVITT:     Correct.

4                   THE COURT:     Is there anything else I should

5     have received?

6                   MR. LEVITT:     No, your Honor.

7                   THE COURT:     All right.

8                   MR. LEVITT:     Although Mr. Sultan and I did

9     speak about Suzanne Felde.

10                  THE COURT:     Oh, yes.

11                  MR. LEVITT:     Um, neither party thought that

12    there's any reason to call her at this point.                I just

13    simply reserve the right if something changes.

14                  THE COURT:     Okay.    I think that's a very

15    sensible way of proceeding.

16            All right.     Is there anything else before we put

17    Mr. Bencken back on the stand and get the jury?

18                  (Mr. Bencken takes the stand.)

19                  (Jury enters, 9:15 a.m.)

20                  THE COURT:     All right.

21            Ladies and gentlemen, good morning.            Thank you for

22    getting back so promptly.          I've been talking to the

23    lawyers to deal with a few things that I hope will

24    contribute to everything continuing to progress

25    smoothly.
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1              Since we recessed yesterday I realized that

2     although I told you we might sit next Tuesday afternoon,

3     um, that's November 1st, the first Tuesday of the month

4     when the district judges meet, and I'm the chief judge

5     and I need to preside at that meeting.              So we won't be

6     sitting next Tuesday.         At the break I would like you to

7     tell Mr. Hohler whether you would be available to sit

8     tomorrow afternoon until maybe 4:00 instead of possibly

9     next Tuesday.      We'll see how we're progressing.            And it

10    may not even be necessary to do that to use all that

11    time, but if it wouldn't be disruptive to your plans, I

12    think it would assure that we stay on track.

13             I've also been reminded that Monday is Halloween

14    and people may want to get home sooner rather than later

15    and not sit after, say, 3:00 on Monday, if we need to

16    sit on Monday afternoon at all.            So I think if we sit

17    tomorrow afternoon, it will give me greater comfort that

18    we can complete this case on the schedule that I gave

19    you.     But if that's going to be very inconvenient or

20    impossible for any of you, you'll tell us and we won't

21    do it.     Okay?

22             We're going to resume with the testimony, the

23    cross-examination of Special Agent Bencken.

24             Do you understand that you're still under oath?

25                  THE WITNESS:      I do.
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1                   THE COURT:     Okay.

2                   MR. SULTAN:     May I proceed, your Honor?

 3                  THE COURT:     You may.

4

5     CROSS-EXAMINATION BY MR. SULTAN:            (Continued.)

6     Q.   Good morning, Special Agent Bencken.

7     A.   Good morning.

8     Q.   When we left off yesterday we were talking about --

9     do you recall we were talking about Kharis Finley?

10    A.   Yes, we were.

11    Q.   And you told us he started working as a paid

12    informant for the FBI in 2006, correct?

13    A.   Correct.

14    Q.   And he was, in fact, paid in 2006, right?

15    A.   Correct.

16    Q.   And do you recall that shortly after going to work

17    for the FBI in 2006, um, Finley was arrested for dealing

18    cocaine in July of 2006?

19    A.   Yes.

20    Q.   And he was terminated by the FBI that same month,

21    right?

22    A.   Correct.

23    Q.   And he was ultimately convicted in that case of

24    possession with intent to distribute cocaine, right?

25    A.   Correct.
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 1    Q.   Okay.    In the following year, in April of 2007,

 2    Finley was reopened as a paid informant by the FBI,

 3    right?

 4    A.   Correct.

 5    Q.   And at the time he was reopened in April of 2007 he

6     was on probation for his cocaine distribution

7     conviction, right?

8     A.   Correct.

9     Q.   And once again, in 2007, based on the paperwork that

10    was filed in your agency, Finley's motivation was to

11    make money, right?

12    A.   Yes.

13    Q.   He wasn't doing this because he wanted to help get

14    drugs off the streets, right?

15    A.   No.

16    Q.   In fact, he was involved in putting drugs out on the

17    streets, right?

18    A.   Correct.

19    Q.   And when Finley was reopened as a paid informant in

20    2007 he was told in writing, was he not, that he was

21    required to pay taxes on any monies that he received

22    from the FBI?

23    A.   Yes.

24    Q.   And, in fact, he signed a form acknowledging that he

25    had been so advised, right?
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 1    A.   Yes, he did.

 2    Q.   And he was paid during 2007, right?

 3    A.   Correct.

 4    Q.   And am I correct that just three months after the

 5    FBI rehired Finley he was arrested again for

 6    distribution of cocaine in 2007?

 7    A.   Correct.

 8    Q.   And he was subsequently convicted in that case and

9     put on probation until September 25th, 2009?

10    A.   Correct, yes.

11    Q.   And about one month after that arrest the FBI

12    terminated Finley for the second time, right?

13    A.   Correct.

14    Q.   And am I correct that notwithstanding his recent

15    convictions Finley was rehired for a third time by the

16    FBI as a paid informant in September of 2009?

17    A.   That's correct.

18    Q.   And the first time his code name was "San," S-A-N?

19    A.   That's correct.

20    Q.   And this time he had a new code name, "Schwinn,"

21    right?

22    A.   Correct.

23    Q.   By it was the same guy, the same Kharis Finley,

24    right?

25    A.   Yes, it was.
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 1    Q.   And you were his handler for the FBI, right?

 2    A.   Correct.

 3    Q.   So you prepared the source opening document when he

 4    was rehired by the FBI on September 18th, 2009, right?

 5    A.   Yes.

 6    Q.   Was that document accurate and complete?

 7    A.   To the best of my knowledge, yes.

8     Q.   (Pause.)     In this form, the source opening form --

 9    and this is a form you're pretty familiar with, right?

10    A.   Yes.

11    Q.   There's a bunch of questions that have to be

12    answered by the agent who is filling out the form?

13    A.   Yes.

14    Q.   Do you recall that one of the questions on that

15    source opening document, Question O, is:              "Has the CHS"

16    -- and what does "CHS" stand for?

17    A.   Confidential Human Source.

18    Q.   Confidential Human Source.          In this case that was

19    Finley, right?

20    A.   Correct.

21    Q.   "Has the CHS ever acted as a CHS for any LE," that's

22    law enforcement --

23    A.   Correct.

24    Q.   "-- agency?"      Do you recall that question?

25    A.   Yes.
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 1    Q.     And do you recall that -- well, the true answer to

 2    that question was "yes," right?

 3    A.     Yes.

 4    Q.     You answered that question "no," didn't you?

 5    A.     I don't -- I haven't seen that form for a while, so

 6    I would have to look at that.

 7                  MR. SULTAN:     May I approach the witness, you

 8    Honor?

 9                  THE COURT:     Why don't you put it up on the

10    jurors' screens.       The jurors' monitors are off right

11    now.

12                  MR. SULTAN:     Mr. Levitt, would you like to

13    look at that document?

14                  MR. LEVITT:     I can see it.

15                  MR. SULTAN:     But would you want to look at the

16    whole document?

17                  MR. LEVITT:     Yes.

18                  THE COURT:     What page number is it, do you

19    know?

20                  MR. SULTAN:     Page 18, your Honor.

21                  MR. LEVITT:     Thank you.

22    Q.     Showing you Page 18 of this source opening document

23    from 2009, Agent Bencken, does this refresh your

24    recollection that in response to the question, "Has the

25    CHS --" Confidential Human Source, meaning Finley, "--
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 1    ever acted as a CHS for any law enforcement agency?"

 2    And you answered that question "No"?

 3    A.   That's correct.       Usually when we fill out a form for

 4    that question, it's for the local law enforcement

 5    agency, so it's asking for a local, nonFBI agency.

 6    Q.   So you interpreted that question as referring to any

 7    law enforcement agency other than the FBI, is that your

 8    explanation?

 9    A.   Correct.     Yes.

10    Q.   Okay.    Well, do you recall that on Page 22 of this

11    statement document you were asked to summarize

12    Mr. Finley's criminal history, correct?

13    A.   Correct.

14    Q.   Okay.    And did you include all significant charges

15    that he had been arrested for in the summary you

16    provided when you reopened Finley for a third time as a

17    paid informant in 2009?

18    A.   I'd have to look at the form.           I don't remember

19    exactly what I wrote on the form.

20                  MR. SULTAN:     Can I show it to the witness,

21    your Honor?

22                  THE COURT:     Yes.

23    Q.   Showing you Page 22 of that same document that you

24    prepared.     Does that refresh your recollection as to

25    what you wrote down to summarize Mr. Finley's, um,
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 1    arrest history?

 2    A.   Yes, it does.

 3    Q.   Okay.    And did you include all of his significant

 4    arrests?

 5    A.   I included all the major offenses at that time, yes.

 6    Q.   Well, you left out his sex offense involving a child

 7    under 14, didn't you, Special Agent Bencken?

 8    A.   I guess I did.       I didn't realize that he had a sex

 9    offense.

10                  MR. SULTAN:     May I approach the witness, your

11    Honor -- or I'll show it to him on this.

12                  (On screen.)

13    Q.   You had fully looked into Mr. Finley's criminal

14    record before you signed him up for the third time,

15    right?

16    A.   Yes.

17    Q.   I'll show you a document.          (On screen.)      Does this

18    refresh your recollection?

19    A.   I don't remember that specific document, no.                  I

20    don't.

21    Q.   You've never seen this before?

22    A.   I don't remember it, no.

23    Q.   Well, in 2009, when you signed Finley up for the

24    third time, did you know that he had a prior arrest for

25    indecent assault and battery on a child under 14?
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                                                                         19




1     A.   I didn't know that, no.

2                   THE COURT:     May I see counsel at sidebar.

3

4                   AT THE SIDEBAR

5                   THE COURT:     All right.      I guess -- there

6     hasn't been an objection, but I want to get the facts

7     straight.     There was this complaint.

8             Was Mr. Finley convicted?

9                   MR. SULTAN:     Well, it was continued without a

10    finding, your Honor, but that's not the point.                This is

11    the arrest history on this document.             This document is

12    grossly incomplete because --

13                  THE COURT:     Well, it says the "criminal

14    history," and whether that's a conviction or not --

15    well, here's the only concern.           I assume there's been --

16            Where's the book?       No, the little evidence book.

17    Right there.

18                  (Clerk hands judge evidence book.)

19                  THE COURT:     You're bringing this in, I assume,

20    to show that the -- to impeach the FBI's credibility and

21    care and he can give what answer he can give, he can

22    say, "I didn't know about it," but if Mr. Finley was on

23    the stand, then you wouldn't be allowed to use this to

24    impeach him under 609.

25                  MR. SULTAN:     I agree, your Honor.
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                                                                         20




 1                  THE COURT:     All right.

 2             What's that?

 3                  MR. SULTAN:     Nor would I try to do so.

 4                  THE COURT:     All right.       We'll see where we go

 5    with all of this.        But maybe, at this point, if the

 6    government wants to bring out --

 7                  MR. SULTAN:     If Mr. Finley says that he

 8    disclosed his entire arrest history and didn't disclose

 9    this, I think I'm entitled to impeach him.

10                  MR. LEVITT:     Well, your Honor, it's not his

11    criminal record.        I mean, this is just a game.

12                  THE COURT:     This is not his criminal record?

13                  MR. LEVITT:     Yeah, it's not his criminal

14    record.     He was 18, so, you know --

15                  THE COURT:     Okay.    Fine.     There's no

16    objection.     I just wanted to be careful.

17

18                  (In open court.)

19    Q.   Now, Agent Bencken, do you recall, on the same form,

20    you were asked on Page 24 whether the CHS, the

21    Confidential Human Source in this case, Mr. Finley, is a

22    state or local probationer, correct?

23    A.   Right.

24    Q.   And as of 9-18 of 2009, he was a state probationer,

25    right?
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                                                                             21




 1    A.     I don't recall exactly at that time if he was or

 2    not.

 3    Q.     Well, let me show you a document.

 4             You had checked this guy's record out thoroughly

 5    before you signed him up again, right?

 6    A.     Yes, I reviewed his criminal history first.

 7    Q.     Okay.   Let me show you the first page of the

 8    document first.

 9    A.     (Looks.)

10    Q.     Okay.   And now I'm going to show you the second page

11    of the same document.

12    A.     (Looks.)

13    Q.     Does that refresh your recollection that Mr. Finley

14    was still on state probation as of September 18th, 2009

15    when you filled out this document rehiring him as a paid

16    informant for the FBI?

17    A.     I don't remember this specific document, no.                I

18    don't remember exactly what his status was at the time.

19    Q.     So you don't know whether -- as you sit here today,

20    your recollection is not refreshed by this, right?

21    A.     No.

22    Q.     And you don't know whether or not he was, in fact,

23    on probation when, um, you filled out this document in

24    September of 2009.        Is that your testimony?

25    A.     I know that he was prior to when we opened, I just
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 1    don't know the exact date of when he was not on

 2    probation.     My understanding, when I opened him, was

 3    that he wasn't on probation.

 4    Q.   I'm sorry?

 5    A.   My understanding was, when we opened him, he wasn't

 6    currently on probation.

 7    Q.   When you opened him for the third time on September

 8    18th, 2009 --

 9    A.   That's correct.

10    Q.   -- your understanding was that he was not on

11    probation?

12    A.   Yes.

13    Q.   And that's why you answered that question "no" on

14    the form, right?

15    A.   Yes.

16    Q.   And your understanding that he wasn't on probation,

17    did you just take his word for it?

18    A.   No.    I don't recall exactly how, um -- I don't

19    remember if we went to the courts or how I found out or

20    how I discovered his status at that point.

21    Q.   Well, would it be your general practice, in checking

22    somebody out before you signed him up as a paid

23    informant, to go to the court where he had a criminal

24    conviction and look at the paperwork in the clerk's

25    office there to see exactly what the terms of the
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 1    individual's sentence were?

 2    A.   Not always.      It just depended on the circumstances.

 3    Q.   And in this case did you bother to do that?

 4    A.   No, I didn't do that.

 5    Q.   And were the terms of Mr. Finley's engagement by the

 6    FBI, this third time beginning in September of 2009,

 7    pretty much the same as they had been on the earlier

 8    occasions?

 9    A.   As far as?

10    Q.   Getting paid.

11    A.   Yes.

12    Q.   That is, he'd be paid based on what he did?

13    A.   Yes.

14    Q.   Okay.    And again he was told in writing, when you

15    signed him up in 2009, that he had to pay taxes on

16    whatever he got from the FBI?

17    A.   Yes.

18    Q.   And he was paid in 2009, right?

19    A.   Yes, he was.

20    Q.   Now, am I correct that you testified on direct

21    examination that Mr. Finley last worked for the FBI in

22    March or April of 2010?

23    A.   That's the best that I can remember, yes.

24    Q.   Well, I want you to think about it again.               Was

25    that -- to the best of your memory, is that when he
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 24 of 126
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 1    stopped working for you?

 2    A.   That's the best I can remember, yes.             I don't recall

 3    the exact date that he stopped working.

 4    Q.   Well, isn't it true that he continued to work as a

 5    paid informant for the FBI throughout the year of 2010?

 6    A.   He was open as a source but I don't know as far as

 7    operational-wise.        I don't remember him doing anything

 8    past the summer.

 9    Q.   Well, he was getting paid all the way to the very

10    end of 2010, right?

11    A.   Yes.

12    Q.   In fact, just for the period of July 1st to

13    September 7th of 2010, he received over $14,000 in

14    expenses and $2,500 for work that he did, right?

15    A.   Correct.

16    Q.   That was July to September, right?

17    A.   Correct.

18    Q.   And, in fact, Mr. Finley continued to have full

19    operational status as a paid confidential informant into

20    2011, didn't he?

21    A.   Yes, he did.

22    Q.   You now know that on May 14th, 2011 of this year --

23    May 14th, Mr. Finley was arrested for possession of

24    marijuana with intent to distribute?

25    A.   Yes, I know that.
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 1    Q.     Okay.   And am I correct that Finley didn't disclose

 2    that arrest to the FBI until July, or six weeks later?

 3    A.     I don't know.     I've been in California since June of

 4    2010.     I don't know exactly when he disclosed that or

 5    the timeline.

 6    Q.     So you don't know if he disclosed it to somebody

 7    else, is that right?

 8    A.     That's correct.

 9    Q.     Okay.   But he called you in California in July of

10    this year, right?

11    A.     Yes, he did.

12    Q.     Okay.   And he told you that his driver's license had

13    been suspended because he got arrested and he asked you

14    if you would help him get his license back?

15    A.     That's correct.

16    Q.     And did you make a call to see if you could help him

17    out?

18    A.     Yeah.   I contacted Deputy Sheriff Matt Doucot and

19    asked him for the details and Matt indicated that there

20    were charges pending and he told me not to make any

21    efforts to assist him.         So I told Mr. Finley that there

22    wasn't anything that I could do.

23    Q.     So it's your testimony that Deputy Sheriff Doucot

24    told you not to do anything to help Finley?

25    A.     Yes.
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1     Q.   Okay.    So you didn't?

2     A.   I didn't, no.

3                   MR. SULTAN:     Just a moment your Honor, please.

4                   (Pause.)

5     Q.   Agent Bencken, didn't you make a call to someone at

6     the Registry that you knew on behalf of Mr. Finley after

7     he called you in July of 2011 and asked you for some

8     help?

9     A.   Initially I called to see the status of his license.

10    Q.   You made a call to the Registry?            Yes or no.

11                  MR. LEVITT:     Your Honor, I'd ask that the

12    witness be allowed to answer.

13                  MR. SULTAN:     I asked a "yes" or "no" question.

14                  MR. LEVITT:     Your Honor --

15                  THE COURT:     We'll do it this way.

16            Mr. Bencken, say what's necessary to answer the

17    question fully, but don't go beyond it.              If there's some

18    elaboration that's required, Mr. Levitt will have a

19    chance to invite it.

20            So if you want a direction to be given to the

21    witness, please ask me to give it, and if it's

22    appropriate, I will.

23                  MR. SULTAN:     Thank you, your Honor.

24    Q.   Let me ask the question a little different way,

25    Special Agent Bencken.
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 27 of 126
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 1             After Finley called you in early July and asked

 2    you for some help in getting his driver's license back,

 3    did you make a call on his behalf to the Registry?                 Yes

 4    or no.

 5    A.   No, I didn't make a call, I sent an e-mail.

 6    Q.   After his arrest in May of 2011, was Finley

 7    terminated by the FBI as a paid informant?

8     A.   After his arrest?

 9    Q.   Yes, sir.

10    A.   Yes.

11    Q.   Do you know when he was terminated?

12    A.   I don't know the exact date, no.

13                  MR. LEVITT:     Your Honor, if the defense

14    counsel is going to try to refresh the witness's

15    recollection, I would like to first have him determine

16    that he ever knew something before he shows him a

17    document to ask him to refresh his recollection.

18                  THE COURT:     Okay.

19                  MR. SULTAN:     Happy to do that, your Honor.

20    Q.   Did you ever know when Mr. Finley was terminated?

21    A.   The last time?       The exact time?       The exact date?

22    Q.   Yes, sir.

23    A.   No.

24    Q.   But you know he was terminated sometime after his

25    arrest, right?
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 28 of 126
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1     A.   Yes, I do.

2     Q.   Was it your understanding at some point that the

3     government was planning to bring federal charges against

4     Finley based on his May, 2011 arrest?

5     A.   Yes, I did hear that.         Yes.

6     Q.   Have any federal charges ever been brought against

7     Finley, to your knowledge?

8     A.   No.

9     Q.   Agent Bencken, did Finley ever lie to you in the

10    course of your work with him?

11    A.   (Pause.)     Yes, there were occasions.          Yes.

12    Q.   Do you consider him to be a trustworthy individual?

13    A.   (Pause.)     Yes, I do.

14    Q.   Now, turning to your use of Mr. Finley in this

15    investigation.

16            Am I correct that you testified on direct

17    examination that you were not focusing on Hester as

18    opposed to Moynihan at the outset, is that right?

19    A.   There were several subjects of investigation.

20    Q.   Well, in December of 2009, didn't you direct your

21    paid informant, Finley, to make some phone calls to

22    Hester to try to buy some crack cocaine?

23    A.   Yes, we did.

24    Q.   That wasn't his idea, that was your idea, right?

25    A.   He reported to us places or people that he could buy
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 29 of 126
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1     drugs off of.      So he reported the information and so we

2     directed him to try to make calls.

3     Q.   Because in December of 2009 you had never heard of

4     my client, Timothy Moynihan, right?

5     A.   No, I had not.

6     Q.   So on December 23, 2009, Finley made three calls to

7     Hester looking to buy crack cocaine, right?

8     A.   Right.

9     Q.   And you recorded those calls, right?

10    A.   Yes.

11    Q.   And Hester told Finley that he would have to contact

12    his source in New Hampshire and get back to him, right?

13    A.   Correct.

14    Q.   So as of the end of 2009 and moving into 2010,

15    Finley hadn't produced anything yet with respect to

16    Mr. Hester, right?

17    A.   No.

18    Q.   Okay.    And then on January 6th of 2010, was that the

19    first time that Finley bought drugs off of Hester?

20    A.   Yes.

21    Q.   And on that occasion, um, -- and you were involved

22    in surveilling, following, um, Finley and Hester as they

23    drove to a location and conducted some kind of a drug

24    deal, right?

25    A.   Yes.
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 1    Q.    Okay.   And am I correct that on that trip, on that

 2    day, Finley and Hester drove to the Cordovan apartments

 3    in Haverhill, then to High Street, and then to an

 4    autobody shop on West Street named Anchor Auto Parts?

 5    A.    That's correct.

 6    Q.    Okay.   And do you recall that -- and you were -- the

 7    conversation between the two of them, this was going on

 8    in the truck that you provided to Finley, right?

 9    A.    That's correct.

10    Q.    And that was a truck that had recording equipment in

11    it?

12    A.    Yes.

13    Q.    It had a video camera and audio recording equipment,

14    right?

15    A.    Yes, it did.

16    Q.    So you could overhear the conversation that they

17    were having?

18    A.    Yes.

19    Q.    And during that conversation between Finley and

20    Hester on October 26th, do you recall that Finley said

21    that he wanted to go to High Street because his source

22    for crack cocaine lived there?

23    A.    That Finley said that?

24    Q.    Yes, sir.

25    A.    I don't remember him saying that.
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 1    Q.     I'm sorry.     That Hester said it?

2     A.     Yes, I remember Hester said it.

 3    Q.     Sorry.     I apologize.    Hester said, "We need to go to

 4    High Street because that's where my source for crack

 5    is"?

 6    A.     Yes, I remember that.

 7    Q.     And there was, in fact, cocaine sold by Hester to

 8    Finley on January 6th, 2010, right?

 9    A.     Yes, that's correct.

10    Q.     And, um, nobody claims to have seen a white Chevy

11    Trailblazer anywhere near that deal, right?

12    A.     Right.

13    Q.     Am I correct?

14    A.     You're correct.

15    Q.     Now, let's turn to January 7th.          On January 7th

16    Finley was in this truck that the FBI had provided to

17    him, right?

18    A.     Yes.

19    Q.     You said it was a Ford Expedition?

20    A.     Correct.

21    Q.     With tinted windows?

22    A.     Yes.

23    Q.     And do you have any idea whether Finley was using

24    marijuana that day?

25    A.     I don't recall if that day, no.
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 1    Q.   And you were with Deputy Sheriff Doucot?

 2    A.   That's correct.

 3    Q.   And you guys were in some kind of a van, a Dodge

 4    Caravan or something?

 5    A.   Yes.

 6    Q.   And your vehicle also had tinted windows, right?

 7    A.   Yes.

 8    Q.   And at some point this, um, white Chevy Trailblazer

 9    showed up on Fourth Street?

10    A.   Correct.

11    Q.   And that vehicle also had tinted windows, right?

12    A.   Yes, it did.

13    Q.   And the Chevy Trailblazer, that's a pretty big

14    vehicle, right?

15    A.   Correct.

16    Q.   It seats like seven or eight people?

17    A.   Yes.

18    Q.   And you have no idea who was in the back of that

19    Chevy Trailblazer on January 7th, 2010, do you?

20    A.   I didn't see anybody else in the back, no.

21    Q.   Well, you don't know who was in the back, is that

22    correct?

23    A.   That's correct.

24    Q.   And on that day Hester was with Finley in the Ford

25    Expedition, right?
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 33 of 126
                                                                         33




1     A.   That's correct.

2     Q.   And they went from Bartlett Street to Fourth Avenue,

3     back to Bartlett Street, and back to Fourth Avenue,

4     right?

5     A.   That's correct.

6     Q.   They went to all those places before this white

7     Trailblazer showed up, right?

8     A.   That's correct.

9     Q.   I'm going to show you a photograph, Special Agent

10    Bencken.

11             Do you recognize this as a photograph of Fourth

12    Avenue in Haverhill?

13    A.   Yes.

14                  MR. SULTAN:     I'd offer this as the next

15    exhibit, your Honor.

16                  MR. LEVITT:     No objection.

17                  THE COURT:     If there's no objection, it's

18    admitted as Exhibit 59.

19                  (Exhibit 59, marked.)

20    Q.   I'm showing you what's now in evidence as Exhibit

21    59, um, Fourth Avenue in Haverhill.

22             It's a residential street, right?

23    A.   That's correct.

24    Q.   It's not particularly heavily trafficked, right?

25    A.   No.
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 34 of 126
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1     Q.   There's not a lot of cars parked on it, right?

2     A.   No.

3     Q.   A caravan with two law enforcement agents sitting on

4     Fourth Avenue for a period of time, do you think that

5     would be kind of conspicuous?

6     A.   Yes.

7     Q.   Now, while -- at some point after this white

8     Trailblazer showed up, Hester got out of the Ford

9     Expedition where Finley was and got into the

10    Trailblazer, right?

11    A.   Right.

12    Q.   And when that happened, Finley, um, gave you guys a

13    little report over the radio about what was happening,

14    right?

15    A.   Yes.

16    Q.   And at that point did Finley tell you that, um, he

17    saw a white male, a Puerto Rican male, in the

18    Trailblazer?

19    A.   Yes, he did.

20    Q.   Now, this particular deal -- and there was, in fact,

21    a drug transaction, you told us, that happened on

22    January 7th, right?

23    A.   Yes, that's correct.

24    Q.   Exhibit 1, that's the drugs that Hester sold to

25    Finley that day?
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1     A.   Correct.

2     Q.   Okay.     And this deal it was for -- how much money

3     was this deal for, do you remember?

4     A.   I don't recall the exact amount.

5     Q.   Well, 350 bucks, does that sound right?

6     A.   Yes.     Yes.

7     Q.   That's what we're talking about as far as the drug

8     deal on January 7th, was $350?

9     A.   Correct.

10    Q.   For this quantity of drugs, right?

11    A.   Right.

12    Q.   Now, it was a few grams, right?

13    A.   Correct.

14    Q.   Okay.     And there's 28 grams in an ounce, right?

15    A.   Correct.

16    Q.   So for those of us who don't deal in grams all the

17    time, there's 16 ounces in a pound, right?

18    A.   Correct.

19    Q.   So am I correct that there are 448 grams in a

20    pound?      Just to give the jury some sense of what we're

21    talking about here.

22    A.   Yes.

23    Q.   Now, a drug addict could use this amount of crack

24    cocaine in a couple of days, right?

25    A.   Correct.
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                                                                         36




 1    Q.   Now, after this transaction that took place, this

 2    drug deal that took place on January 7th, you took

 3    Finley back to your office, right?

 4    A.   That's correct.

 5    Q.   Okay.    And as an FBI agent are you trained in proper

 6    identification techniques?

 7    A.   Yes.

 8    Q.   That is, techniques of properly, um, determining

 9    from the witness whether the witness can identify

10    somebody?

11    A.   Correct.

12    Q.   You've been trained, right?

13    A.   Yeah.

14    Q.   Okay.    And have you been taught to use a photo

15    array, that is, a selection of photographs as opposed to

16    showing somebody a single photograph in order to avoid,

17    um, making a -- being improperly suggestive to them.

18    Have you been taught that?

19    A.   Depending on the circumstances, yes.

20    Q.   You've been taught that whenever possible you should

21    use a photo array rather than a single photograph?

22    A.   Yes.

23    Q.   How many photographs did you show Kharis Finley on

24    January 7th, 2010 when you asked him to make the

25    identification?
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 37 of 126
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1     A.   One.

2     Q.   The only photograph you showed him was a photograph

3     of my client, Timothy Moynihan, right?

4     A.   That's correct.

5     Q.   Now, this meeting that occurred between, um, Finley

6     and Hester, they were in that car together for roughly

7     an hour on that date, is that a fair estimate?

8     A.   That's correct.

9     Q.   And we're talking about January 7th?

10    A.   Yes.

11    Q.   And everything that happened between Hester and

12    Finley in that Ford Expedition for that hour, that was

13    all recorded, right?

14    A.   Correct.

15    Q.   On videotape?       Audiotape?

16    A.   Yes.

17    Q.   The whole hour, right?

18    A.   Correct.

19    Q.   Now, what was put into evidence a few moments ago

20    under direct examination yesterday, I should say,

21    represents only a few minutes of that hour-long meeting,

22    is that right?

23    A.   That's correct.

24    Q.   Let's turn to January 11th, Agent Bencken.

25            There was another drug deal that day between
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 38 of 126
                                                                         38




1     Hester and Finley, right?

2     A.   That's correct.

3     Q.   And do you know whether Finley was using marijuana

4     that day?

5     A.   I don't remember if that day, no.            I don't remember

6     him using marijuana that day, no.

7     Q.   I'm sorry?      Is it your testimony that he was not

8     using marijuana on that day?

9     A.   I don't recall it being an issue that day or that we

10    confronted him on it, no.

11    Q.   Do you know whether or not he was using marijuana

12    that day?

13    A.   No.

14    Q.   Now, this -- on that day you told us that at some

15    point Finley's Ford Expedition with Hester inside parked

16    next to the Cordovan apartments in Haverhill, right?

17    A.   Yes.

18    Q.   And did you tell us yesterday that that was at the

19    intersection of Emerson and Summer Streets?

20    A.   Yes, I did.      I don't remember the exact cross

21    street, but that was my best recollection, yes.

22                  MR. SULTAN:     May I have a moment, your Honor?

23                  (Pause.)

24    Q.   Let me show you a map of Haverhill, Agent Bencken.

25    (On screen.)      Do you see where -- do you see where
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 39 of 126
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 1    Fourth Avenue is on this map that I'm pointing to with

 2    my finger?

 3    A.    Yes, I do.

 4    Q.    And the jury heard about Fourth Avenue yesterday?

 5    A.    Yes.

 6    Q.    Okay.   I'm moving the map over.

 7            Do you see where Whittier Street is on this map?

 8    A.    Yes.

 9    Q.    And the jury heard about Whittier Street yesterday?

10    A.    Yes.

11                  THE COURT:     Do you want to mark that as an

12    exhibit?

13                  MR. SULTAN:     Yes, your Honor.

14                  THE COURT:     Okay.    We'll make this map Exhibit

15    60.

16                  (Exhibit 60, marked.)

17    Q.    Now, do you see where my finger is, Emerson and

18    Walnut Streets?

19    A.    Yes.

20    Q.    Does that refresh your recollection that, in fact,

21    the Cordovan apartments is at the intersection of

22    Emerson and Walnut Streets, does that sound right?

23    A.    That sounds right.

24    Q.    And Walnut Street goes into Bailey Boulevard?

25    A.    Correct.
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                                                                         40




 1    Q.   And that's where the main police station is for the

 2    City of Haverhill, just a block down from that

 3    intersection?

 4    A.   That's correct.

 5    Q.   And that intersection, um, the intersection of

 6    Walnut and Emerson Streets, that's a pretty major

 7    intersection in the City of Haverhill, isn't it?

 8    A.   Yes, it is.

 9    Q.   Let me show you a -- an overhead photograph of that

10    intersection.      (Shows.)

11            Does that appear to be an accurate overhead

12    photograph of the intersection of Emerson and Walnut

13    Streets in Haverhill?

14    A.   Yes, it does.

15    Q.   And this building that I'm pointing at right here,

16    is that the Cordovan apartments?

17    A.   Yes.

18    Q.   Okay.    So -- and I think you told us yesterday that,

19    um, on January 11th, you and your partner, um, Doucot,

20    you were doing surveillance from the parking lot of the

21    Comcast building, right?

22    A.   That's correct.

23    Q.   And this building I'm pointing to right there,

24    that's the Comcast building, right?

25    A.   Correct.
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                                                                         41




 1    Q.   And you were facing Walnut Street, the right-hand

 2    corner, so you were over here somewhere where my big

 3    finger is?

 4    A.   Actually over to your right, over at the corner.

 5    Q.   Well, I guess this would work.           Let me give you the

6     photograph and have you point.

7                   THE COURT:     Well, actually if you leave it on

 8    there, I think if he touches it it will make it more --

 9                  MR. SULTAN:     Okay.

10    Q.   Can you point to where --

11    A.   I was right there.        (Indicates.)

12    Q.   So that's where you were located?

13    A.   Yes.

14    Q.   In the -- behind the Comcast building?

15    A.   Correct.

16    Q.   Not in the lot that's right next to the street, but

17    rather where the "X" is, which is kind of right on the

18    back edge of the Comcast building?

19    A.   Correct.

20    Q.   And there's an incline.          That's up above Walnut

21    Street?

22    A.   Yes.

23    Q.   You were looking down Walnut Street, correct?

24    A.   Yes.

25    Q.   And where the -- where Finley parked his car, um,
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 42 of 126
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1     was somewhere along the building on Walnut Street,

2     right?

3     A.   Correct.

4     Q.   Can you point to where, approximately, where Finley,

5     um, parked his Expedition on January 11th?

6     A.   (Indicates.)

7     Q.   Okay.

8                   MR. SULTAN:     May I have this marked as the

9     next exhibit, your Honor?

10                  THE COURT:     It will be marked as Exhibit 61,

11    the overhead view.

12                  (Exhibit 61, marked.)

13    Q.   And Walnut Street, it's four lanes, right, two lanes

14    each way?

15    A.   Um, I think it's only two lanes.

16    Q.   Okay, about a block from the police station, which

17    is over this way?

18    A.   Correct.

19    Q.   Okay.    And do you recall that January 11th, 2010 was

20    a Monday afternoon?

21    A.   I don't remember the exact day, but I'm sure that's

22    correct, yes.

23    Q.   And so there was plenty of traffic on a weekday

24    afternoon in that part of the city, right?

25    A.   Yes.
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1     Q.     And you told us yesterday that it was overcast that

2     day?

3     A.     Correct.

4                     MR. SULTAN:    Your Honor, I want to show a

5     photograph that probably the jury shouldn't see yet.

6                     THE COURT:    Okay.

7     Q.     I show you a photograph, um, Agent Bencken.             Does

8     that appear to be a photograph of the parking lot of the

9     Comcast building with the fence in front of it that you

10    were doing surveillance in on January 11th, 2010?

11    A.     Yes, it does.

12                    MR. SULTAN:    Okay.   I'd offer this as an

13    exhibit, your Honor.

14                    THE COURT:    Is there any objection?

15                    MR. LEVITT:    No, your Honor.

16                    THE COURT:    It is admitted as Exhibit 62.

17                    (Exhibit 62, marked.)

18    Q.     (On screen.)     So you can see from this parking lot,

19    the building that's down here, and this is the Cordovan,

20    right?        (Indicates.)

21    A.     That's correct.

22    Q.     And do you see on this photograph -- the parking lot

23    that you guys are in, there's a video camera right here

24    on the side of the building, right?

25    A.     Yes.
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 1    Q.   Did you ever bother to subpoena the film from the

 2    camera for that date?

 3    A.   No, I didn't.

 4                  MR. SULTAN:     Your Honor, I want to show

 5    another photograph that the jury probably shouldn't see

 6    yet, a diagram actually.

 7    Q.   Special Agent Bencken, I'm showing you a diagram.

 8    Does this appear to be an accurate depiction of your

 9    location, your surveillance location on January 11th and

10    the location of the, um, parking spaces on Walnut Street

11    in front of the Cordovan?

12    A.   Yes.

13                  MR. SULTAN:     I'd offer this as the next

14    exhibit, your Honor.

15                  MR. LEVITT:     No objection.

16                  THE COURT:     It is admitted as Exhibit 63.

17                  (Exhibit 63, marked.)

18    Q.   So this little car up here, that's where you guys

19    were, right?

20    A.   Correct.

21    Q.   And can you tell the members of the jury which of

22    these lettered parking spaces was Finley in when he

23    first showed up on Walnut Street on that day?

24    A.   In parking space C.

25    Q.   Okay.    So Finley was in C.        And -- and at some point
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 1    this Chevy Trailblazer showed up, right?

 2    A.   That's correct.

 3    Q.   And where was the Trailblazer?

 4    A.   In parking spot E as in "Edward."

 5    Q.   E.    And that's because you said -- someone else was

 6    parked in D?

 7    A.   That's correct.

 8    Q.   Okay.    So is it your testimony that when Hester left

 9    the Expedition and went into the Trailblazer, the

10    Trailblazer was in parking space E?

11    A.   Correct.

12    Q.   Okay.    And whatever observations you made you were

13    making from parking space D?

14    A.   Correct.

15    Q.   Okay.    And the observations you were making from up

16    here, um, you weren't using binoculars that day, right?

17    A.   I don't recall using them, but I had them.

18    Q.   Well, whether you had them with you or not, you

19    didn't use them that day, did you, Special Agent

20    Bencken?

21    A.   If I would have needed them, I would have used them.

22    Q.   Special Agent Bencken, did you use your binoculars

23    that day?     Yes or no.

24    A.   No.

25    Q.   Thank you.      And you couldn't see who was in the back
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 1    of the Blazer that day, could you?

 2    A.   I didn't see anybody in the back, no.

 3    Q.   Well, that's not my question.           Could you see who was

 4    in the back?

 5    A.   No --

 6    Q.   Could you see in the back through the tinted

 7    windows?

 8                  THE COURT:     Which question do you want to --

 9    Q.   Could you see into the back?

10    A.   No.

11    Q.   And am I correct that on that day that Finley and

12    Hester went to the Cordovan, then they went to Bartlett

13    Street, correct?

14    A.   Correct.

15    Q.   And they were seen on Bartlett Street at 3:03, does

16    that sound right?

17    A.   Correct.

18    Q.   And then they went back to the Cordovan at 3:12?

19    A.   Correct.

20    Q.   And then they went -- they were spotted at Fourth

21    Street at 3:26, right?

22    A.   Correct.

23    Q.   And then they were spotted, 7 minutes later, back at

24    the Cordovan?

25    A.   That's correct.
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 1    Q.   They made all of those stops before the white

 2    Trailblazer showed up shortly after 3:33 p.m., correct?

 3    A.   That's correct.

4     Q.   Do you have a video of the transaction, the drug

 5    deal, that took place on January 11th, 2010?

 6    A.   No, we don't.

 7    Q.   Do you recall that deal was for 575 bucks?

 8    A.   Correct.

 9    Q.   2 grams of crack?

10    A.   Yes.

11    Q.   Finley and Hester were in that car together for at

12    least an hour that day, right?

13    A.   Correct.

14    Q.   That was all recorded, right?

15    A.   Yes.

16    Q.   The piece the government has put into evidence is

17    only a few minutes of that, right?

18    A.   That's correct.

19    Q.   Let's turn to January 13th.           There was another sale

20    of drugs from Hester to Finley on January 13th, right?

21    A.   That's correct.

22    Q.   And on that date do you recall that Finley and

23    Hester started out to Cordovan, then they went to

24    Bartlett Street, and then they went to Fourth Street?

25    A.   Correct.
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 48 of 126
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 1    Q.     And do you recall -- again, you're listening to

 2    what's going on inside that car, right?

 3    A.     That's correct.

 4    Q.     Do you recall that Hester directed Finley to go to a

 5    particular house on Bartlett Street?

 6    A.     I do recall that, yes.

 7    Q.     Okay.   And that was the house where Hester said

 8    someone named Shawn Do lived, correct?

 9    A.     That's correct.

10    Q.     Who is Shawn Do?

11    A.     He's an individual he identified.          I don't recall

12    his exact name, but that was his -- what they called

13    him.

14    Q.     Well, as part of your investigation you determined

15    who Shawn Do is, right?

16    A.     That's correct.

17    Q.     And you determined, did you not, that Shawn Do's

18    real name was Louis Ledesma, right?

19    A.     Yes.

20    Q.     And Louis Ledesma is the nephew of Orlando Ledesma,

21    right?

22    A.     That's correct.

23    Q.     And Orlando Ledesma was one of the targets of this

24    investigation, right?

25    A.     That's correct.
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 49 of 126
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1     Q.   And you learned, as part of your investigation, did

2     you not, that Louis Ledesma, who lived on Bartlett

3     Street, had multiple convictions for possession of

4     cocaine, right?

5     A.   Yes.

6     Q.   And you recall this particular deal on January 13th,

7     2010 was for 650 bucks?

8     A.   Correct.

9     Q.   And, once again as with the earlier transactions,

10    Hester and Finley were in the car together for an hour

11    or more?

12    A.   Yes.

13    Q.   And it was all recorded?

14    A.   Yes.

15    Q.   And the piece the government has put into evidence

16    is just a few minutes out of that, right?

17    A.   That's correct.

18    Q.   Okay.    Finally let's turn to January 15th.

19    A.   (Turns.)

20    Q.   Now, on that day, as on the 13th, Finley and Hester

21    drove to Bartlett Street, didn't they?

22    A.   Yes.

23    Q.   And on that day Finley paid Hester $800 for drugs,

24    right?

25    A.   Correct.
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 1    Q.   That was the biggest of the four deals, right?

 2    A.   Yes.

 3    Q.   They were all under $1,000, right?

 4    A.   Correct.

 5    Q.   And as on the other occasions Finley and Hester were

 6    in the car together, the truck together, the Ford

 7    Expedition, it was for roughly an hour?

 8    A.   Yes.

 9    Q.   And it was all recorded?

10    A.   Yes, it was.

11    Q.   And the piece the government has put into evidence

12    is just a few minutes of that, right?

13    A.   That's correct.

14    Q.   Now, I think you told us, on direct examination,

15    that something else you did in this part of your

16    investigation was, um, to do some kind of analysis

17    regarding phone records, right?

18    A.   That's correct.

19    Q.   Okay.    And am I correct that you and your colleagues

20    examined, initially examined Hester's phone records?

21    A.   That's correct.

22    Q.   To try to see if they would provide you with some

23    clues in seeking to identify his drug source?

24    A.   That's correct.

25    Q.   And those records were run through some fancy
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 51 of 126
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 1    software program that created all kinds of fancy

 2    reports, correct?

 3    A.   That's correct.

 4    Q.   And that was done by Deputy Mahoney?

 5    A.   Yes, it was.

 6    Q.   He did that work, right?

 7    A.   That's correct.

 8    Q.   Do you see Deputy Mahoney in the courtroom?

 9    A.   I do.

10    Q.   Where is he?

11    A.   He's there in the corner.          (Indicates.)

12    Q.   Sitting all the way in the back row on the jury

13    side, the side of the courtroom where the jury box is?

14    A.   Yes.

15    Q.   And he's been there throughout your testimony,

16    right?

17    A.   Yes.

18    Q.   And you saw the results of his analysis, correct?

19    A.   Yes.

20    Q.   Now, when you looked at Deputy Mahoney's analysis of

21    Hester's phone records, did you notice calls to or from

22    a number of the same people on these different dates

23    when Hester sold drugs to Finley?

24    A.   To the same people?

25    Q.   Yeah.    Were there some of the same phone numbers
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 52 of 126
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1     popping up on the different days?

 2    A.   Yes.

 3    Q.   And part of the analysis was to determine whose

4     numbers those were, right?

 5    A.   Correct.

 6    Q.   And did you notice, on more than one occasion, that

 7    Hester called Louis Ladezma, also known as Shawn Do?

 8    A.   Yes.

 9    Q.   Did you notice, on more than one occasion on these

10    dates, that Hester called someone named William Pena?

11    A.   Yes.

12    Q.   Do you know who he is?

13    A.   I don't remember exactly who he is, no.

14    Q.   Do you recall that, on more than one of these dates,

15    Hester called someone named Steve Berry?

16    A.   I don't remember that exact name, but I know that he

17    called several people.

18    Q.   Well, did you look into, for example, Steve Berry's

19    background to see if he had a record for convictions for

20    distributing cocaine?         Did you look into that?

21    A.   I didn't personally, no.

22    Q.   And as part of this massive investigation, did the

23    government investigate who Hester was text-messaging

24    with on each of the dates in question?

25    A.   I don't remember the text messages, no.
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1     Q.   You don't remember if that was done?

2     A.   I don't recall that, no.

3     Q.   You've never seen any analysis of Hester's text-

4     messages, have you?

5     A.   I might have, but it's been over a year, so I don't

6     remember exactly what the phone records indicated and

7     what the specific numbers were and who he specifically

8     called.      I don't remember the exact --

9     Q.   I'm not asking you that, Agent Bencken.              I'm asking

10    you whether anyone ever bothered to look at who Hester

11    was exchanging text-messages with on these dates.

12    A.   I don't know.

13                  MR. SULTAN:     Thank you, sir.

14            That's all I have, your Honor.

15                  THE COURT:     Is there any redirect?

16                  MR. LEVITT:     Yes, your Honor.

17

18    REDIRECT EXAMINATION BY MR. LEVITT:

19    Q.   Special Agent Bencken, um, Mr. Sultan asked you on

20    each of these buys whether the tapes that were put in

21    were the full tapes from the case or not.              Do you

22    remember that?

23    A.   I do.

24    Q.   And you said they were excerpts?

25    A.   Yes.
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1     Q.   Do you remember me showing you some additional tapes

2     that were marked for identification at the end of your

3     testimony, four tapes of, um, buys in this case.                   Do you

4     remember me showing you those?

5     A.   Yes, I do.

6     Q.   And do you remember whether those are the full tapes

7     of the buys in this case?

8     A.   Those are, yes.

9     Q.   And do you know if, in the normal course of how

10    things are done in discovery, those are sent earlier on

11    to the defense, the tapes?

12    A.   Yes.

13    Q.   Um, Mr. Sultan asked you -- I think he asked you

14    questions for about an hour and a half on Mr. Finley.

15    Do you recall that?

16    A.   Yes, I do.

17    Q.   And, um, you said, in terms of opening and closing

18    Mr. Finley, um, that essentially the FBI made that

19    call.    Do you recall that?

20    A.   Yes.

21    Q.   But isn't it correct that when you open a

22    cooperating witness, you need to get concurrence from

23    the U.S. Attorney's office?

24    A.   Yes, that's correct.

25    Q.   And that in the file of records that has been
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 55 of 126
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1     produced to the defense, there are those letters?

2     A.   That's correct.

3     Q.   Indicating that the FBI talked to an Assistant U.S.

4     Attorney and they concurred in that, the opening and

5     closing?

6     A.   Yes.

7     Q.   And, in fact, the same thing happens with payments?

8     A.   That's correct.

9     Q.   You can't even pay a cooperating witness unless you

10    have a conversation with an Assistant U.S. Attorney,

11    right?

12    A.   That's correct.

13    Q.   And there was also some talk about whether somebody

14    is open and nonactive and/or closed and nonactive.                 Do

15    you remember that?

16    A.   Yes, I do.

17    Q.   And, um, is there other times when a cooperating

18    witness is open and not doing anything?

19    A.   Yes, there are.

20    Q.   And was that the case with Mr. Finley?

21    A.   Yes.

22    Q.   After the pitchfork case came down?

23    A.   Yes.

24    Q.   And, um, there was also testimony about a large

25    payment, a $14,000 payment, that went to him.                Do you
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 56 of 126
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1     remember that?

2     A.   Yes.

3     Q.   Do you recall if that was for moving expenses at the

4     close of the case?

5     A.   Yes, it was.

6     Q.   And that's what you do when a case is over, you've

 7    got to move the guy?

8     A.   Yes.

9     Q.   So you give him a big lump sum as reimbursement for

10    getting moved?

11    A.   Yes.

12    Q.   And that's one of the things that you tell them at

13    the beginning of the case, that at the conclusion you

14    will help him and his family move for his own safety,

15    correct?

16    A.   That's correct.

17    Q.   And you always do that in these cases, correct?

18    A.   That's correct.

19    Q.   And when you open up a cooperating witness, you look

20    at the criminal record?

21    A.   Yes.

22    Q.   And did you do that in this case?

23    A.   Yes, I did.

24    Q.   And if that, um, charge that Mr. Sultan's talked

25    about, the indecent A&B, is on the criminal record, you
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 1    see that?

 2    A.   Yes.

 3    Q.   Do you recall right now if it was on it or not?

 4    A.   No, I don't.

 5                  MR. LEVITT:     May I approach, your Honor --

 6                  THE COURT:     Yes.

 7                  MR. LEVITT:     -- the witness, your Honor?

 8    Q.   I'm going to show you a document --

 9                  THE COURT:     Well, actually maybe you ought to

10    put it up on the monitor without the jurors.

11                  (On monitor.)

12    Q.   So I'll show you the first page, just ask you to

13    take a look at it, and then I'll show you -- see if that

14    refreshes your recollection.

15    A.   Yes.

16    Q.   And, um, that refreshed your recollection that that

17    was on his criminal record?

18    A.   Yes.

19    Q.   Is that something you look at?

20    A.   Yes.

21    Q.   Is that something that you typically discussed with

22    the AUSA at the time?

23    A.   Yes.

24    Q.   You were asked some questions about tinted windows.

25    Do you recall that?
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 58 of 126
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 1    A.   Yes, I do.

 2    Q.   Let's just be clear.         The tint on the windows, in

 3    all the cars we're talking about here, was the front

 4    windshield tinted?

 5    A.   No, it was not.

 6    Q.   Were the front driver's side and passenger's side

 7    tinted?

 8    A.   No, they were not.

 9    Q.   So we're talking about the back windows and the back

10    passenger and back driver's side windows, correct?

11    A.   Correct.

12    Q.   Those are tinted, is that correct?

13    A.   Yes.

14    Q.   And the back window of the vehicle itself?

15    A.   Yes.

16    Q.   And is this factory tint?          Do you know what that is?

17    A.   Yes.

18    Q.   That's kind of like the standard tint that comes

19    with a car?

20    A.   Yes.

21    Q.   Okay, nothing special, no extra thing that you do to

22    make it super secret?

23    A.   No.

24    Q.   Okay.    And the -- there were questions about whether

25    you saw -- I think Mr. Sultan phrased it, that you
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 59 of 126
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 1    didn't see who was in the back seat.             Do you remember

 2    those questions?

 3    A.   Yes.

 4    Q.   About the Chevy Trailblazer?

 5    A.   Yes.

 6    Q.   There were occasions, were there not, when you saw

 7    Mr. Moynihan through his front windshield, correct?

 8    A.   That's correct.

 9    Q.   July 7th, you saw that, correct?

10    A.   January 7th.

11    Q.   I'm sorry.      January 7th, correct?

12    A.   Correct.

13    Q.   January 13th?

14    A.   Yes.

15    Q.   And then January 15th?

16    A.   Yes.

17    Q.   January 11th, you had the side view?

18    A.   Yes.

19    Q.   When you were looking through the front windshield

20    of the Chevy Trailblazer on January 7th, January 13th,

21    January 15th, did you see anybody in the back seat?

22    A.   No, I did not.

23    Q.   Could you see into the back seat area?

24    A.   Yes.

25    Q.   You were also asked a question, um, about -- I
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 60 of 126
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1     thought the question was on the January -- on the

 2    January 11th buy, um, whether you had -- do you recall

3     the question whether you had a video of the January 11th

4     buy?

5     A.     Yes.

6     Q.     And you said "No"?

7     A.     Yes.

8     Q.     And what were you referring to when you said that?

9     A.     The equipment malfunctioned on that day so we only

10    had audio, we didn't have video recording.

11    Q.     And let me show you what's been marked as Government

12    Exhibit 18.

13                  MR. LEVITT:     Your Honor, this is one of the

14    transcripts.

15                  THE COURT:     Are you going to play the tape?

16                  MR. LEVITT:     I was not.      I was just going to

17    show him something on the transcript.

18                  THE COURT:     For what purpose?

19                  MR. LEVITT:     About this January 11th buy.

20                  THE COURT:     Are you asking that the transcript

21    be admitted?

22                  MR. LEVITT:     Let me ask the question first,

23    your Honor.      It might avoid this issue at this point.

24                  THE COURT:     Okay.

25    Q.     Were you listening to the transmitter on January
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 61 of 126
                                                                         61




1     11th?

2     A.   Yes.

3     Q.   You're in your car with Special Agent Doucot

4     listening to the transmitter, correct?

5     A.   Correct.

6     Q.   And do you recall that when -- after Mr. -- after

7     Mr. Moynihan showed up in the white Chevy Trailblazer

8     and parked behind Finley and Hester, do you recall

9     hearing Mr. Hester get out of Mr. Finley's car?

10    A.   I do.

11    Q.   And you saw it happen, too?

12    A.   Yes.

13    Q.   And he went into the car with Mr. Moynihan, correct?

14    A.   That's correct.

15    Q.   And that's when you saw them engaging in some kind

16    of bodily movement together, moving towards each other?

17    A.   That's correct.

18    Q.   And when Mr. Hester was out of the car you remember

19    the CW, Mr. Finley, calling out some stuff on the

20    transmitter?

21    A.   Yes.

22    Q.   And do you recall that he, um, called out something

23    to the effect of "They left" um, "in a white", "white

24    truck", "the same white truck."            Do you recall that?

25    A.   Yes, I do.
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1     Q.   And that's when they made the block that you

2     testified about?

3     A.   Yes.

4     Q.   When you saw them and they pulled up kind of right

5     in front of you?

6     A.   Yes.

7     Q.   And then Finley called out "383HA8."             Do you recall

8     that?

9     A.   Yes.

10    Q.   And what's that?

11    A.   It's a Massachusetts license plate for Timothy

12    Moynihan's vehicle.

13    Q.   And he says, "Taking a right, got some 18-inch

14    chrome rims on it."        Do you recall that?

15    A.   Yes.

16    Q.   And then do you recall seeing Moynihan pull back in

17    behind Mr. Finley's car?

18    A.   I do.

19    Q.   And this was -- now he's in position D?

20    A.   Correct.

21    Q.   And did you see, um, Hester get out of the car at

22    that point?

23    A.   I did.

24    Q.   And you hear him get back into the CW's car?

25    A.   Correct.
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 63 of 126
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 1    Q.   And when he got back into the CW's car, did you hear

 2    Mr. Hester say, "Yeah, this is that thick shit, nigga,

 3    God damn," says the CW.         Do you remember that?

 4    A.   Yes.

 5    Q.   And based on your training and experience did you

 6    have an understanding as to what he was referring to?

 7                  MR. SULTAN:     Objection.

 8                  THE COURT:     To the opinion evidence?

 9                  MR. SULTAN:     Yes, sir.

10                  THE COURT:     Sustained.

11    Q.   And after that is when Moynihan left, the CW left

12    with Hester, dropped off Hester, met with you guys and

13    handed you the crack and coke?

14    A.   That's correct.

15    Q.   You also, um -- defense counsel also asked you some

16    questions about the January 13th buy.             Do you recall

17    that?

18    A.   Yes.

19    Q.   And about Shawn Do?

20    A.   Yes.

21    Q.   And do you recall that -- were you listening to the

22    transmitter that day?

23    A.   Yes.

24    Q.   Do you recall that when Mr. Finley picked up

25    Mr. Hester, the first thing Mr. Hester said is, "What's
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 64 of 126
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 1    up, man?     Let's go get some weed, man"?

 2    A.   Yes.

 3    Q.   And then do you recall Mr. Hester, on the phone,

 4    saying, "Yo, where you at?          I need a dime."

 5    A.   Yes, I remember that.

 6    Q.   Do you know what a dime bag of weed is?

 7    A.   Yes.

 8    Q.   And then do you recall later on, again, Mr. Hester

 9    on the phone saying, "Where you at?             All right.     I'm

10    coming through.       I need some weed"?

11    A.   Yes.

12    Q.   And this is important to you guys because you want

13    to know where they are calling from and what they are

14    doing?

15    A.   Correct.

16    Q.   So you're listening carefully at that point?

17    A.   Yes.

18    Q.   And then do you remember the CW saying, "Where,

19    where are you going, Shawn Do's or --"              And Hester says,

20    "Yeah, yeah, just the same way you go to my mom's

21    house," right?

22    A.   Yes.

23    Q.   And that was just after he said, "I'm coming

24    through, I need some weed," right?

25    A.   Correct.
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                                                                             65




1     Q.     And then again when -- after Finley and Hester show

2     up at that house, um -- was it on Bartlett Street?                 I

3     can't remember.

4     A.     Yes.

5     Q.     Um, do you remember hearing Hester get out of the

6     car?

7     A.     Yes.

8     Q.     And the CW, again, um, talks to the agents.             He says

9     -- do you remember him saying, "A green and white house,

10    Shawn Do's house"?

11    A.     Yes.

12    Q.     Just to let you know what's going on?

13    A.     Yes.

14    Q.     Um, do you remember hearing Hester get back in the

15    car with the CW?

16    A.     I do.

17    Q.     And do you remember right away the CW saying,

18    "You've got the bud?"         And Hester says, "Oh, yeah, I've

19    got the bud"?

20    A.     Yes.

21    Q.     Um, and this is the day, you testified earlier, that

22    later on Hester sold some weed to a guy on the street?

23    A.     Yes.

24    Q.     And do you recall, um -- after that do you recall

25    him saying to Finley, "Yo, let's go get more weed so we
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 1    can smoke.      I did my good deed for the day.           I sold that

 2    nigga a dime for 8 bucks"?

 3    A.   I do remember that.

 4    Q.   And then do you remember hearing him on the phone

 5    saying "Yo, I'm coming to get another one.               All right"?

 6    A.   Yes.

 7    Q.   And this is the day, do you recall, um, having a

8     conversation with, um, Finley about the fact that he

 9    smoked?

10    A.   Yes.

11    Q.   And, do you remember, didn't you say that he smelled

12    like it and you confronted him?

13    A.   Yes.

14    Q.   (Pause.)     You were asked by defense counsel whether

15    you thought Mr. Finley was trustworthy.              Do you remember

16    that?

17    A.   Yes, I do.

18    Q.   And you said "Yes."        Have you ever heard Ronald

19    Reagan's statement "Trust, but verify"?

20                  MR. SULTAN:     Objection.

21                  THE COURT:     Sustained.      Go ahead.

22    Q.   Why do you employ -- you testified about all the

23    procedures you used in this case.            Do you recall that?

24    A.   I do.

25    Q.   You meet with the CW.         You search him.       You search
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 67 of 126
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 1    the vehicle.      You give him audio and video recording

 2    equipment.      You set up surveillance at the location

 3    where the buy is going to happen.            You surveil him to

 4    the location where the buy is going to happen.                You, um,

 5    have a transmitter so you can listen live to what's

 6    going on.     After the buy you surveil, you surveil the

 7    buy, you surveil him to the meeting location, you search

 8    him --

 9                  MR. SULTAN:     I object to this question, your

10    Honor, it's just a little too long for me to follow.

11                  THE COURT:     Overruled.      Go ahead.

12    Q.   You follow him to the meeting location, you search

13    him, um, you get the drugs, you get the recording

14    equipment.      Do you recall all of that?

15    A.   Yes, I do.

16    Q.   Do you recall testifying about, after the buy, the

17    subpoenaed phone records -- you had Mike Mahoney

18    subpoena phone records, correct?

19    A.   Correct.

20    Q.   You have the Merchants' Auto documents, correct?

21    A.   Correct.

22    Q.   You asked Mike Mahoney to do an analysis of the

23    phone records?

24    A.   Yes.

25    Q.   Why do you do all of that?
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 1    A.   To corroborate the information that we were given by

 2    Mr. Finley.

 3    Q.   (Pause.)     The photo of the distances you were shown,

 4    the defense exhibit from January 11th.              Do you recall

 5    that?

 6    A.   Yes.

 7    Q.   You had seen that photo before with those distances?

 8    A.   Yes, I have.

9     Q.   You saw that, what, about a week ago?

10    A.   Yes.

11    Q.   Um, you were asked questions about whether you'd

12    seen Deputy Sheriff Doucot in the last couple of days?

13    A.   Yes.

14    Q.   And whether you had seen Kharis Finley in the last

15    couple of days?

16    A.   Yes.

17    Q.   Do you recall that?

18    A.   Yes.

19    Q.   Did you talk to him about your testimony?

20    A.   No.

21    Q.   Did you talk to him about the case at all?

22    A.   No, not at all

23    Q.   In fact, there's a sequestration order in this case,

24    right?

25    A.   That's correct.
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1     Q.   You're not allowed to do that?

2     A.   No, I'm not.

3     Q.   Did you violate that court order?

4     A.   No, I did not.

5     Q.   Um, Special Agent Bencken, on January -- um, you

6     heard some conversations about, um, that you were asked

7     questions about the January 6th buy.             Do you recall

 8    that?

9     A.   Yes.

10    Q.   And your testimony on direct was that that didn't

11    involve Moynihan, right?

12    A.   No, it did not.

13    Q.   And was he charged in that buy?

14    A.   No, he was not.

15    Q.   And there was another buy, correct, at the end of

16    January, is that right, from Mr. Hester?

17    A.   Yes.

18    Q.   And that one didn't involve Mr. Moynihan either?

19    A.   That's correct.

20    Q.   Um --

21                  MR. LEVITT:     Your Honor, may I approach for a

22    moment?

23                  THE COURT:     Yes.

24

25                  AT THE SIDEBAR
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1                   MR. LEVITT:     I don't know if I'm being overly

2     cautious, but I'm going to do it anyway.              I was going to

3     ask him, "But there was another buy from Mr. Moynihan?

4     What's the second buy?"

 5                  MR. SULTAN:     Your Honor, I don't think I'm on

6     notice that they're going to put that in.              I think it

7     sounds like some kind of a 404 --

8                   THE COURT:     Yeah, I don't know what you're

9     talking about.

10                  MR. LEVITT:     There was a buy on March 2nd,

11    2010 involving Mr. Moynihan and I think he opened the

12    door, because he talked about the January 6th buy, and

13    he said Mr. Moynihan wasn't there, so --

14                  THE COURT:     So why isn't that 404B evidence of

15    which the pretrial order requires you to give notice?

16                  MR. LEVITT:     Well, two things.        One, I think I

17    did give notice of it.         I have to take a look at my

18    disclosure letter on that, but I think I did.                But I'd

19    have to check it to confirm that.            And, two, because he

20    offered it in cross, it's not coming in in his case in

21    chief, it's coming in on redirect.

22                  MR. SULTAN:     Your Honor, what happened in

23    March I don't think has much bearing on what happened in

24    January.     Number 1.     But, Number 2, if they want to put

25    in evidence of the March transaction, that's another
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 71 of 126
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1     thing, but to have this witness testifying in a

2     conclusory manner about it, I think is completely

3     unfair.     And on redirect I didn't bring up March.               It's

4     totally unfair.

5                   MR. LEVITT:     He brought up January.

6                   THE COURT:     What's he going to testify, that

7     he was there on surveillance?

 8                  MR. LEVITT:     That he saw --

9                   THE COURT:     At this point I'm going to exclude

10    it under Rule 403.

11                  MR. LEVITT:     Okay.

12                  THE COURT:     No, let me finish explaining.

13            I assume you gave notice of it, so Mr. Sultan's,

14    at least, familiar with it and, you know, it could have

15    some probative value if they were dealing drugs together

16    in March because, perhaps, identification is a proper

17    404B purpose.      However, I thought we were coming to the

18    end of this witness.        We're going to put in a whole new

19    transaction and cross-examination of that transaction?

20    I think that given all the other, I would say, effective

21    or all the other ammunition you have that you've already

22    employed, that the marginal relevance, the marginal

23    probative value of yet another transaction would be

24    substantially outweighed by undue delay, waste of time,

25    and, in my view, and I don't know if it's cumulative,
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 72 of 126
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1     but those considerations.

 2                  MR. LEVITT:     Yes, your Honor.        Thank you.

3

4                   (In open court.)

5     Q.   Special Agent Bencken, were you listening to the

6     transmitter on January 7th, 2010, January 11th, 2010,

7     January 13th, 2010, and January 15th, 2010?

8     A.   Yes, I was.

9     Q.   Did a crack sale, a cocaine sale, ever occur on

10    those dates before Mr. Moynihan showed up in the white

11    Chevy Trailblazer?

12    A.   I'm sorry.      Could you repeat the question?

13    Q.   On January 7th, 2010, was there a crack deal, a

14    crack sale before Mr. Moynihan showed up in the white

15    Chevy Trailblazer?

16                  MR. SULTAN:     I object, your Honor.         He can

17    only talk to what's on the videotapes.              He doesn't know

18    what else happened.

19                  MR. LEVITT:     But he was listening to the

20    transmitter.

21                  THE COURT:     Well, essentially, I think this

22    question asks him for his opinion about what those

23    events constituted, so I'm going to sustain the

24    objection.

25    Q.   Did you watch the video for the January 7th deal?
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 1    A.   Yes, I did.

 2    Q.   And did you listen to the tape?

 3    A.   Yes.

 4    Q.   And did you see or hear a crack deal between

 5    Mr. Hester and Mr. Finley --

 6                  MR. SULTAN:     I object, your Honor.         The tapes

 7    speak for themselves.         They are in evidence.        The jury

 8    can decide what they mean.

9                   THE COURT:     Sustained.

10                  MR. LEVITT:     May I just have a minute, your

11    Honor?

12                  THE COURT:     Yes.

13                  (Pause.)

14    Q.   You were also asked some questions about the phone

15    records in this case?

16    A.   Yes.

17    Q.   Is it fair to say you delegated that job to Mike

18    Mahoney?

19    A.   Yes.

20    Q.   He's the intelligence analyst?

21    A.   Yes.

22    Q.   Thank you.

23                  MR. LEVITT:     Nothing else.

24                  THE COURT:     Is there recross?

25                  MR. SULTAN:     Very briefly, your Honor.
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 1

 2    RECROSS-EXAMINATION BY MR. SULTAN:

 3    Q.   Let me ask you a few questions about vehicle

 4    tinting, Special Agent Bencken.

 5            Now, the tinting on all three of these vehicles

 6    was something called "privacy tinting," correct?

 7    A.   That's correct.

8     Q.   It's not just a little shading that maybe every

 9    vehicle has from the factory, right?

10    A.   Correct.

11    Q.   It's dark privacy tinting, that's what it's called,

12    "privacy tinting," right?

13    A.   Yes.

14    Q.   Okay.    And so, for example, on January 11th, when

15    you're looking down at the Blazer, am I correct that you

16    cannot see into the back seat because of the tinting?

17    A.   That's correct.

18                  MR. SULTAN:     Thank you, sir.

19                  THE COURT:     Okay.    Thank you.      Your testimony

20    is complete.

21            Who is the next government witness going to be?

22                  MR. LEVITT:     Your Honor, I was going to take

23    the DEA chemist out of order because she flew in from

24    New York.

25                  THE COURT:     About how long do you think she'll
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 75 of 126
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 1    be?

 2                  MR. LEVITT:     10 minutes.      15 minutes.

 3                  THE COURT:     All right.      Why don't you call the

 4    witness.     Perhaps we'll get through the direct at least

 5    before the break.

 6                  MR. LEVITT:     The government calls Mandy

7     McGehee.

 8                  (MANDY McGEHEE, sworn.)

 9

10                  *************

11                  MANDY McGEHEE

12                  *************

13

14    DIRECT EXAMINATION BY MR. LEVITT:

15    Q.     Would you please state your name and spell your last

16    name for the record.

17    A.     Mandy McGehee.     Last name is spelled M-C-G-E-H-E-E.

18    Q.     How are you employed?

19    A.     I'm a forensic chemist for the Drug Enforcement

20    Administration.

21    Q.     How long have you been a forensic chemist for the

22    DEA?

23    A.     I've worked there since 2006.

24    Q.     And do you have any other, um, pertinent experience?

25    A.     I was hired as an intern actually for the DEA.              I
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 1    worked there for one year.          Before that I worked at

 2    Laboratory Techs at Pace University and at Millsaps

 3    College.

 4    Q.   And how long approximately did you do that?

 5    A.   Throughout undergrad, so approximately three years

 6    at Millsaps College and about a year and a half at Pace

 7    University.

 8    Q.   And, um, could you describe your educational

 9    background.

10    A.   Yes, sir.     I have a bachelor of science in biology

11    from Millsaps College and I have a master's of forensic

12    science from Pace University.

13    Q.   And do you do any sort of professional training or

14    teaching that's pertinent to your testimony?

15    A.   I also teach forensic science at John Jay College of

16    Criminal Justice in New York.

17    Q.   And you do some sort of ongoing training at -- for

18    the DEA?

19    A.   Yes, they require us to do certain training inside

20    the lab as well as out.

21    Q.   And, um, what do you do as a forensic chemist?

22    A.   The primary responsibilities as a forensic chemist

23    are to analyze evidence for the presence or absence of

24    controlled substances.         I then write reports of my

25    findings and I testify in court when needed.               I also
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 77 of 126
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1     assist agents as needed.

2     Q.   Can you give us an approximation on how many drug

3     exhibits you've examined over the years?

4     A.   Hundreds.

5     Q.   And what percentage of your cases are cocaine or its

6     derivative, cocaine base?

7     A.   Um, approximately 90 percent of the exhibits we get

8     in our lab are cocaine.

9                   MR. LEVITT:     I think this would be easier,

10    your Honor, if I approached on the exhibits.

11                  THE COURT:     Okay.

12    Q.   Let me show you what's been marked as, um,

13    Government Exhibit 1 and then I'll show you also

14    Government Exhibit 2 and ask if you recognize those

15    exhibits?

16    A.   Yes, sir, this Government Exhibit 1 is evidence that

17    I've analyzed.       And Exhibit 2 is the report that

18    correlates with the evidence.

19    Q.   Okay.    And how do you know that that's evidence that

20    you examined?

21    A.   Um, I have signed the seal at the bottom of the

22    evidence, which I do when I finished with the analysis,

23    as well as the inner seals, I have my initials with my

24    signature.

25    Q.   And how do you correlate the one exhibit to the
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1     second exhibit, Exhibit 1 to Exhibit 2?

2     A.   The case numbers and the laboratory number are on

3     the bag of evidence as well as on the report.

4     Q.   Okay.    And are those identical in this case?

5     A.   Yes, sir.

6     Q.   The, um -- or I should say they're identical,

 7    they're two different numbers, but they both appear on

8     the same two exhibits?

9     A.   Yes, they do.

10    Q.   And, um, could you tell us what your conclusion --

11    could you tell us first the date of the -- um, with

12    respect to, um, Exhibit 2, you can take a look at it,

13    (Hands it over.) um, could you tell us what the first

14    page is and what the second page is?

15    A.   The first page is actually my report, the typed

16    report and the, um -- the second page is what we call

17    the DEA-7, which is the form that's submitted with the

18    evidence.

19    Q.   Okay.    So --

20                  MR. LEVITT:     And this I would like to show the

21    jury, your Honor.        These are admitted.

22                  (On the screen.)

23    Q.   So the first page of Government Exhibit 2, you said,

24    is your report?

25    A.   Yes, sir.
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 1    Q.   And is that your signature down at the bottom?

 2    A.   Yes, it is.

 3    Q.   And then who is Thomas Blackwell?

 4    A.   Thomas Blackwell is our laboratory director.

 5    Q.   Why does he sign it as well?

 6    A.   It's a process of checking.           So once I finish the

 7    analysis, I actually have a supervisor who then goes

 8    over all the data and makes sure everything is okay.

 9    And then it's checked once again by the laboratory

10    director.     So we have multiple checks.

11    Q.   And to be clear, there's a bunch of backup data

12    that's generated for each once of these exhibits, is

13    that correct?

14    A.   Yes, sir, that's correct.

15    Q.   And you produced that all to the U.S. Attorney's

16    office?

17    A.   Yes, sir.

18    Q.   And so then the second page is what?

19    A.   This is the DEA-7.        It's a form that's submitted to

20    the lab with the evidence, whenever the evidence is

21    dropped off.

22    Q.   So this is whatever agency does the investigation,

23    they do this form and give it to you?

24    A.   Right.

25    Q.   And this form indicates this is for the buy that
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1     took place on January 7th, 2010 in Haverhill?

2     A.   Yes, sir.

3     Q.   So is it, um, correct that your conclusion with

4     respect to Exhibit 2, the crack that's in the -- the

5     cocaine base that's in front of you, is in this area

 6    here?

7     A.   Yes, sir.

8     Q.   And what was your conclusion?

9     A.   Um, Exhibit Number 1 contained cocaine base.

10    Q.   And is it correct that your conclusion as to, um --

11    is it correct -- is there two sort of phases for what

12    you do in terms of your analysis?

13    A.   Um --

14    Q.   Well, let me try to be more clear.

15            Is there a qualitative aspect and a quantitative

16    aspect?

17    A.   Yes, there is.

18    Q.   And could you describe what those are?

19    A.   Sure.    Qualitative just says what is the substance

20    and then quantitative is the purity or how much of the

21    substance is actually there -- how much of the

22    controlled substance is actually there.

23    Q.   And you also weigh it?

24    A.   Yes.

25    Q.   Is that part of what you mean?
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 1    A.   Yes.    The net weight is the weight of just the drug

 2    minus any packaging that's submitted with the evidence.

 3    Q.   And is it correct that that's the column that I'm

 4    pointing to that says "Net Weight"?

 5    A.   Yes, sir.

 6    Q.   What was you conclusion to the net weight of Exhibit

 7    1?

 8    A.   The net weight for Exhibit 1 was 6.7 grams.

 9    Q.   And then it asks you to, if you could, um, pull

10    towards you Government Exhibit 3.            Do you see that?

11    A.   Yes, sir.

12    Q.   And, um, can you describe what that is?              Have you

13    seen that before?

14    A.   Yes, I have.

15    Q.   What is it?

16    A.   This is also evidence that I've analyzed.

17    Q.   And you know that for the same reasons as Exhibit 1?

18    A.   Yes, it's the signatures and the initials.

19    Q.   And then let me show you Exhibit 4.             Do you see that

20    --

21    A.   Yes.

22    Q.   -- on the screen?

23    A.   Yes.

24    Q.   And, um, can you tell us, um, whether that

25    correlates with Government Exhibit 3?
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1     A.   Yes, this is the written report for the drug

2     evidence that's Exhibit 3.

3     Q.   And again how do you know that?

4     A.   The lab number and the case number is the same.

5     Q.   The case number stays the same, isn't that correct?

6     A.   Yes, sir.

7     Q.   The lab number changes?

8     A.   The lab number and the exhibit number are specific

9     for each piece of evidence.

10    Q.   So you're looking at the lab number and comparing it

11    to the actual drugs that you have in your hand?

12    A.   Right.

13    Q.   And, um, this is the report that was sent to you?

14    A.   Yes, sir.

15    Q.   It indicates it's for evidence purchased on January

16    11th, 2010 in Haverhill?

17    A.   Right.

18    Q.   And then your conclusion as to the drug contained in

19    this exhibit?

20    A.   Exhibit 3 contained cocaine base at a weight of 6.7

21    grams.

22    Q.   And I'd asked you to, um, look at what's been marked

23    as Exhibit 8 -- I'm sorry.          Exhibit 7.

24    A.   (Turns.)

25    Q.   My mistake.      Exhibit 5.
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 1    A.   (Turns.)     Okay.

 2    Q.   And, um, what's that?

 3    A.   This is also evidence that I've analyzed.

4     Q.   You know that by the signatures again?

 5    A.   Yes, sir.

 6    Q.   And then let me show you government Exhibit 6.                Can

 7    you tell if that correlates with Government Exhibit 5 or

 8    Exhibit 5?

 9    A.   Yes, that's the type of form for this piece of

10    evidence.

11    Q.   Again by the lab number?

12    A.   That's correct.

13    Q.   Um, and it indicates this is also on January 11th,

14    2010?

15    A.   Yes.

16    Q.   In Haverhill?

17    A.   Yes.

18    Q.   Um, and what was your conclusion with respect to

19    Exhibit 5?

20    A.   This exhibit contains cocaine hydrochloride at a net

21    weight of 6.8 grams.

22    Q.   That's basically cocaine?          That's the formal name

23    for cocaine?

24    A.   It's cocaine with a hydrochloride module, so it's

25    the soft form of cocaine.
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1     Q.   Um, and there's a number here -- on all of these net

2     weights there's a number in parentheses under -- you

3     said it was 6.8 grams and there's a number under it.

4     I'll just read it.        Plus/minus .0007g.        What does that

5     mean?

6     A.   Um, any time we take a measurement or a weight,

7     there is an uncertainty associated with measurements,

8     and that is, um, that based on the scale we used to take

9     the weight, that was the uncertainty associated with

10    that specific balance.

11    Q.   So it's kind of like a margin for error?

12    A.   Yes.

13    Q.   On that weight?

14    A.   Yes.

15    Q.   And in that case it's .0007?

16    A.   Yes.

17    Q.   And is it fair to say that you -- did you use the

18    same scale, I'll call it, for weighing all of the these

19    exhibits?

20    A.   I believe so.       That would be in my data.         I have to

21    say which scale I used.         But I'm pretty positive it was.

22    Q.   Let me just then show you Exhibit 2.

23            The same margin for error there, .007?

24    A.   .0007.    Yes, sir.

25    Q.   And then, um, for 4 as well?
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1     A.   Right.

2     Q.   And now I'd ask you to look at, um, Exhibit 7, I

3     believe it is.       Do you recognize that?

4     A.   Yes, sir.

5     Q.   And what's that?

6     A.   This is also evidence that I analyzed.

7     Q.   And then I'll show you Government Exhibit 8.                  Can

8     you see if that correlates with the exhibit that you're

9     looking at right now?

10    A.   Yes, sir, that's the written report for this piece

11    of evidence.

12    Q.   The same lab number?

13    A.   Yes.

14    Q.   And what was your conclusion -- your qualitative

15    conclusion?

16    A.   Qualitatively this is cocaine base at a weight of

17    13.7 grams.

18    Q.   And with that same .0007 grams margin for error on

19    the weight?

20    A.   Yes.     Correct.

21    Q.   And then finally if you would look at Exhibit 9.

22    And, I guess, just before I do that, for

23    Government Exhibit 8, which was the DEA form for, um,

24    for the exhibit that you just looked at, that indicates

25    it was purchased in Haverhill on January 13th, 2010?
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 1    A.     Yes, sir.

 2    Q.     Okay.   Now, on Exhibit 9, do you recognize that?

 3    A.     Yes, sir, this is evidence that I analyzed.

 4    Q.     Again by the signatures and the sealing?

 5    A.     Correct.

 6    Q.     And Government Exhibit 10, do you recognize that?

 7    A.     That's the written report for this piece of

 8    evidence.

 9    Q.     The same lab number?

10    A.     Yes.

11    Q.     And your conclusions?

12    A.     Cocaine base with the weight of 13.3 grams.

13    Q.     And the margin for error on the weight?

14    A.     0.0007 grams.

15                   MR. LEVITT:    Thank you, Ms. McGehee.

16                   THE COURT:    Okay.    Is there cross-examination?

17                   MR. SULTAN:    Yes, your Honor.

18                   THE COURT:    Okay.

19

20    CROSS-EXAMINATION BY MR. SULTAN:

21    Q.     Good morning, Miss McGehee.

22    A.     Good morning.

23    Q.     Do you still have those exhibits there in front of

24    you?

25    A.     Yes, sir.
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1     Q.   Let me show you again, start with Exhibit 2.

2     A.   (Turns.)

3     Q.   Am I correct that Exhibit 2, this relates to

4     evidence, your analysis of evidence which you were told

5     was purchased in Haverhill, Massachusetts on January

6     7th, 2010, right?

7     A.   Um, I believe so.        That would be on the next sheet.

8     Q.   Okay.    This being the next sheet.          But it's part of

9     the same exhibit, right?

10    A.   Yes, it's part of the same exhibit.

11    Q.   Am I right, it's January 7th, 2010, that's what you

12    were told?

13    A.   Yes, sir.

14    Q.   Okay.    Go back to Page 1.

15            Now, do you see this column right here where it

16    says "Amount of Actual Drug," right?

17    A.   Yes, sir.

18    Q.   And does that column represent the actual amount of

19    cocaine base contained in this exhibit?

20    A.   Yes, that's correct.

21    Q.   Okay.    And what was the actual amount of cocaine

22    base contained in Exhibit 1?

23    A.   Um, of pure cocaine base, it would be 4.2 grams.

24    Q.   Okay.    So the amount of the actual cocaine base

25    contained in this exhibit was 4.2 grams, right?
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 1    A.   Yes.

 2    Q.   Okay.     Turning to Exhibit 4.

 3                  MR. LEVITT:     Your Honor, if the defense is

 4    going to go through each exhibit and show the amount of

 5    actual drug, I'm going to object on relevancy grounds.

 6                  THE COURT:     Well, I'll see counsel at

 7    sidebar.      In fact, you know what I'm going to do?              It's

 8    11:00.      We'll take the morning break for the jurors.

 9    We'll come back at 11:20.          I'll talk to the lawyers

10    about this matter.        The Court is in recess.

11                  (Jury leaves, 11:00 a.m.)

12                  THE COURT:     And you're excused until 12:20.

13    Thank you.

14                  MR. LEVITT:     11:20, I believe, your Honor.

15                  THE COURT:     11:20.    Excuse me.      Just one

16    second.

17                  (Witness leaves courtroom.)

18                  THE COURT:     Okay.    Why don't you go ahead.

19                  MR. LEVITT:     Well, your Honor, I mean, the law

20    says that the operative weight in determining drug

21    weight is the net weight.          I mean, the Supreme Court has

22    been saying that, the First Circuit has been saying

23    that.

24                  THE COURT:     In which cases?

25                  MR. LEVITT:     I don't have them off the top of
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1     my head, your Honor.        But, I mean, it's so well-

2     established that I didn't even think it was an issue.

3     I've been doing drug cases for 10 years.

4             So, I mean, I could certainly provide you with

5     cases, your Honor, but when -- um, I mean, we calculate

6     drug weight all the time in this courthouse and it's

7     always based on the net weight.            And, um, that's why

8     it's a -- the charge, even if it's a mixture or a

9     substance containing a detectable amount of -- because

10    it's always mixed.        Um, so the operative basis is always

11    the net weight.

12            So all this is is, you know, something to confuse

13    the jury and there's -- it should be excluded.                It's

14    irrelevant and it's --

15                  THE COURT:     Mr. Sultan.

16                  MR. SULTAN:     Well, your Honor, I resent the

17    suggestion I'm trying to confuse the jury.

18            Number 1, um, it's part of her analysis and I

19    think I have every right to ask her about her analysis

20    and what's on her report.

21            Number 2, while I think it is true that the law at

22    present is that, um, sentencing, including mandatory

23    minimums, can be based on a mixture, I think that is

24    correct, that is the law in the First Circuit.                But I

25    have a right to essentially set up a record to challenge
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 1    that law and I'm doing that in an evidentiary way.                 I

 2    assume the Court will instruct the jury appropriately at

 3    the end of the trial and I'll live with the Court's

 4    instructions.      But I have a right to explore this

 5    laboratory technician's analysis, and that's part of her

 6    analysis.

 7                  MR. LEVITT:     Well, your Honor, the reports are

 8    now in evidence and he's done it with respect to one.

 9    It's going to apply to all five exhibits the same way.

10    And he can make that argument on closing if he thinks

11    it's really an argument that he wants to make.

12                  THE COURT:     Well, this is helpful.         My

13    understanding is the same as the understanding that

14    you've each expressed, that it's the net weight of the

15    mixture, not the weight of the actual cocaine base that

16    is relevant for the purposes of triggering different

17    potential sentences, although I haven't focused on this

18    either and looked at the cases lately.              But I don't

19    think it's, um, impermissible for Mr. Sultan to cover

20    this somewhat, um, and I will -- I will certainly, at

21    the end of the case, give an instruction as to what

22    weight is the legal relevant weight.             But I'm not sure

23    what the cases or the leading cases from the Supreme

24    Court or First Circuit are that supports our common

25    understanding.
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1              So we're going to take a break.          You bring me back

2     the cases and show me.         I might give them an interim

3     instruction now.       But in any event, I'll instruct them

4     at the end of the case.         All right?

5                   MR. SULTAN:     Well, your Honor, I guess I would

6     have a problem with the Court instructing them now,

7     because it would suggest that there's something improper

8     about my cross-examination.          I don't think my cross-

9     examination is improper, I think it's perfectly

10    acceptable.

11                  MR. LEVITT:     Your Honor, I would request one.

12    I think the point here is to avoid jury confusion.

13                  THE COURT:     Well, I'll think about it.            But

14    the first thing to do is bring me the cases.               All

15    right?

16             The Court is in recess.

17                  (Recess, 11:10 a.m.)

18                  (Resumed, 11:25 a.m.)

19                  THE COURT:     Mr. Levitt, did you have an

20    adequate opportunity to find the authority for what we

21    all understand to be the law?

22                  MR. LEVITT:     I sent an intern up and he's not

23    back yet.

24                  THE COURT:     That's fine.      I think what I'll

25    do, for present purposes, is just tell the jurors that
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1     at the end of the case, if not earlier, I'll tell them

2     which of these weights is the legally relevant weight,

3     okay, or the weight to be used in reaching their

4     verdict.

5             Okay.    We'll get the jury and find out about their

 6    availability tomorrow afternoon.

7                   MR. LEVITT:     Your Honor, would you like the

8     witness on the stand or not?

9                   THE COURT:     We can put her on the stand, yes.

10                  (Witness enters.)

11                  THE COURT:     Well, here are some cases that may

12    be what we want.       Young, 992 F.2d 207.         Shibaz, 933 F.2d

13    1029.    Laserchick, 924 F.2d 211.

14            I think it addresses the issues of the guidelines

15    and the statutes and indicating that they intend the

16    weight of the mixture should be used for all drugs.

17                  MR. LEVITT:     Your Honor, then in light of the

18    fact that you found those cases, would you then consider

19    that instruction to be rather than that you'll tell them

20    at the end, but that you'll tell them now?

21                  THE COURT:     No, because I haven't read the

22    cases and I don't know if it's up to date.

23                  (Pause.)

24                  (Jury enters, 11:30 a.m.)

25                  THE COURT:     Ladies and gentlemen, Mr. Hohler
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 1    tells me you would be available tomorrow afternoon, if

 2    necessary, until 4:00.         So we'll proceed with that

 3    understanding.       You should plan to be here that long and

 4    we'll see where we are tomorrow as to whether or not

 5    it's necessary.       We won't sit next Tuesday afternoon if

 6    we're not finished with the evidence in the case.                  We

 7    will sit next Tuesday morning.           Okay?

 8                  MR. SULTAN:     May I proceed, your Honor?

 9                  THE COURT:     Yes.    Are you going to continue

10    along the line?

11                  MR. SULTAN:     Your Honor, I'm going to wrap

12    this up very, very quickly.          No, I'm not going to

13    continue along that line.

14                  THE COURT:     Okay.

15    Q.   Ms. McGehee, I'm not going to go through each of

16    these reports, to avoid taking up too much time, I just

17    want to make sure it's completely clear for the jury.

18            But for each of your reports, you list a number of

19    different weights, right?

20    A.   Yes, sir.

21    Q.   And on each report the first weight that you list is

22    a gross weight, correct?

23    A.   Yes.

24    Q.   Tell us, please, what the gross weight means?

25    A.   Sure.    The gross weight is this entire exhibit, it's
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 94 of 126
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1     the bag and everything.         It includes the packaging.

2     Q.   It includes everything?

3     A.   Yes, sir.

4     Q.   And you write that down as the "gross weight"?

5     A.   Correct.

6     Q.   And the next column is the net weight, right?

7     A.   Yes, sir.

8     Q.   And please tell the jury what the net weight

9     represents?

10    A.   Sure.    The net weight is just the powder or the

11    sample itself.       So if it came in a bag, it's the weight

12    of the drug without the bag.

13    Q.   Okay.    And then the third thing that you weigh or

14    calculate is the amount of the actual drug, right?

15    A.   Yes, sir.

16    Q.   And tell the jury, please, what that means?

17    A.   Because I did a quantitative test, I found the

18    purity of the sample, um, the -- I was unable to

19    calculate the amount of the pure drugs, the amount of

20    nothing but the cocaine base, which was 4.2 grams.

21    Q.   And you did the same calculation for each and every

22    one of these exhibits, correct?

23    A.   Yes.

24                  MR. SULTAN:     Thank you very much, ma'am.

25                  THE COURT:     And, ladies and gentlemen, with
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 1    regard to these exhibits, the indictment charges that

 2    more than 28 grams was involved in the overall alleged

 3    conspiracy, um, that it is alleged Mr. Moynihan is part

 4    of.    At the end of the case I'll tell you which of those

 5    columns is the legally correct column to use in

 6    calculating the weight, if you reach that issue.                   Okay?

 7            Is there any redirect?

 8                  MR. LEVITT:     Just one question, your Honor.

 9

10    REDIRECT EXAMINATION BY MR. LEVITT:

11    Q.    With respect to the cocaine-based exhibits, the form

12    they're in now, that granular form, is that what they

13    looked like when you got them?

14    A.    Yes, sir.    According to my handwritten notes, which

15    I think you have there, it's a chunkier substance.

16    Q.    And do you break it down as part of your -- your

17    examining it?

18    A.    Part of our sampling plan is you have to grind it,

19    so that's the representative sample.

20                  MR. LEVITT:     Nothing else, your Honor.

21                  THE COURT:     All right.      You are excused.

22    Thank you very much.

23            The United States may call the next witness.

24                  MR. LEVITT:     The government calls Kharis

25    Finley.
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1                   (KHARIS FINLEY, sworn.)

2                   MR. LEVITT:     Your Honor, if I might just

3     approach to take back the exhibits?

4                   THE COURT:     Yes.

5

6                   *************

7                   KHARIS FINLEY

8                   *************

9

10    DIRECT EXAMINATION BY MR. LEVITT:

11    Q.   Would you please state your name and spell your

12    first and last name?

13    A.   Kharis Finley, K-H-A-R-I-S, F-I-N-L-E-Y.

14    Q.   Mr. Finley, how old are you?

15    A.   27.

16    Q.   And, um, is it correct you're testifying here today,

17    um, pursuant to an immunity order that was signed by the

18    judge here?

19    A.   Yes, sir.

20                  MR. LEVITT:     I ask to show that to the

21    witness, your Honor.        It hasn't been admitted yet.           I

22    don't know if you want to turn off the camera, but I

23    don't know if there's any objection.

24                  THE COURT:     Is there any objection to this

25    being admitted?
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 1                  MR. SULTAN:     Could we approach sidebar, your

 2    Honor?

 3                  THE COURT:     Yes.

 4

 5                  AT THE SIDEBAR

 6                  THE COURT:     Yes?

 7                  MR. SULTAN:     Your Honor, I guess the issue

 8    that I have is, um, the fact that Mr. Levitt has now

9     raised and the fact that your Honor signed this order,

10    um -- and I think perhaps this is something that can be

11    addressed at the end of the trial in the instructions,

12    but I don't want the jury to think that your Honor has

13    given some kind of imprimatur to it.

14                  THE COURT:     Okay.    Do you want me to just tell

15    them that when the government applies for an order, the

16    Court's obligated to issue it?

17                  MR. SULTAN:     Yes, your Honor.        Yes.   Thank

18    you.

19                  THE COURT:     Okay.

20

21                  (In open court.)

22                  THE COURT:     Ladies and gentlemen, let me

23    explain something to you.           You're going to see and, I

24    expect, hear some testimony about an order that I issued

25    pursuant to a statute that provides the witness a
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 1    certain degree of immunity for his testimony, and you

 2    should understand that that was not a discretionary

 3    decision on my part.        When the government files a proper

 4    application for such an order, the Court issues it, has

 5    to issue it, but the judge makes -- doesn't participate

 6    in deciding whether that immunity should be granted or

 7    not.     That's solely an executive branch decision.               Okay?

 8                  MR. LEVITT:     Okay.    Thank you, your Honor.

 9    Q.     Let me show you what's been admitted now as

10    Government Exhibit 52.

11             Have you seen this order before, um, signed

12    October 21st, 2011, um, concerning you?

13    A.     Yes, sir.

14    Q.     And, um, it indicates that you refused to testify or

15    provide other information at the suppression hearing and

16    trial on the basis of the privilege against self-

17    incrimination.       Is that correct?

18    A.     Yes, sir.

19    Q.     And this order, um, orders you to testify, is that

20    correct?     Is that your understanding?

21    A.     Yes, sir.

22    Q.     And it says that, um, your compelled testimony, um,

23    may not be used against you except in any -- in any

24    criminal case.       Do you see that?

25    A.     Yes, sir.
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1     Q.   And then it says, um, except a prosecution for

2     perjury, giving a false statement or otherwise failing

3     to comply with this order.          Do you understand that?

4     A.   Yes, sir.

5     Q.   And you also had something called a proffer letter

6     earlier --

7                   (Pause.)

8                   MR. LEVITT:     There's no objection to this,

9     your Honor, to my understanding.

10                  THE COURT:     Is that correct, Mr. Sultan?

11                  MR. SULTAN:     Yes, your Honor.

12                  THE COURT:     What's the next number?

13                  MR. LEVITT:     Exhibit 51.

14                  THE COURT: Exhibit 51 is admitted.

15                  MR. LEVITT:     Thank you.

16                  (Exhibit 51, marked.)

17    Q.   And is that your signature?

18    A.   Yes, sir.

19    Q.   And do you recognize that letter?

20    A.   Yes, sir.

21    Q.   You've been a cooperating witness with the FBI for

22    several years, is that right?

23    A.   Yes.

24    Q.   You've been involved in numerous investigations with

25    several different agents?
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1      A.   Yes, sir.

2      Q.   Was the most recent one up in Haverhill?

3      A.   Yes.

4      Q.   And you're involved in controlled buys from numerous

5      targets, is that correct?

6      A.   Yes.

7      Q.   Prior to that you'd done some work for agents in

8      Boston, is that right?

9      A.   Yes.

10     Q.   And, um -- and you've been paid?

11     A.   Yes.

12     Q.   Um, do you know how much?         Do you remember how much?

13     A.   I'm not sure.

14     Q.   Um, if I tell you it's about $30,000, does that

15     sound about right?

16     A.   Yes, I guess so.

17                  MR. SULTAN:      I object to the leading, your

18     Honor.

19                  THE COURT:      Sustained.

20     Q.   Have you ever sold drugs in the past?

21     A.   Yes.

22     Q.   And used drugs?

23     A.   Yes.

24     Q.   What's your drug of choice to use?

25     A.   Marijuana.
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 1     Q.   Do you still use it?

 2     A.   Every once in a while.

 3     Q.   And you also have some -- have you been diagnosed

 4     with anything?

 5     A.   Yes.

 6     Q.   What's that?

 7     A.   Um, a sleeping disorder, bipolar, and ADHD.

 8     Q.   And, um, were you ever in a gang?

 9     A.   Yes.

10     Q.   What gang?

11     A.   LGD.

12     Q.   What's that stand for?

13     A.   Latin Gangsta' Disciples.

14     Q.   And are you still involved with that gang?

15     A.   No.

16     Q.   Were you involved in a controlled purchase of drugs

17     from Curtis Hester on January 7th, 2010?

18     A.   Yes.

19     Q.   And did you know Curtis Hester prior to that?

20     A.   Yes.

21     Q.   How long did you know him?

22     A.   Since about '07.

23                  MR. LEVITT:      Your Honor, at this time I'm

24     going to be playing tapes and I'd ask that the

25     transcript binders be handed out to the jurors.
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1                   THE COURT:      Yes.

2             Ladies and gentlemen, Mr. Hohler is going to give

3      you a binder that has transcripts that correspond with

4      the tapes and they're going to be marked as evidence so

5      you'll have them in the jury room if you want to use

6      them, the transcripts, if you decide to listen to the

7      tapes again.      But you should understand the following.

8      If there's some difference that you hear between what's

9      on the transcript and what's on the tape, you must

10     consider the tape recording to be the evidence, and, um,

11     rely on the tape to the extent that it's any different

12     than the transcript.        Okay?

13                  (Hands out binders.)

14                  MR. LEVITT:      There should be an extra one for

15     the Court.

16            And if I could approach to give the witness one,

17     your Honor?

18                  THE COURT:      And these have exhibit numbers,

19     correct?

20                  MR. LEVITT:      They do, your Honor.        And the way

21     we tabbed them correlates with the exhibit number.

22                  THE COURT:      Okay.

23                  MR. LEVITT:      So Tab 12 is for Exhibit 12.

24                  THE COURT:      Okay.    Exhibit 12 is the tape?

25                  MR. LEVITT:      It's the transcript.
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1                     THE COURT:    Oh, it's the transcript.         Okay.

2      Well, I will say then Exhibits 12, 14, 16, 18, 20, 22,

3      24 and 26 are admitted.

4                     (Exhibits 12, 14, 16, 18, 20, 22, 24 and 26,

5      marked.)

6      Q.     Mr. Finley, did you have a name for Curtis Hester

7      that you called him?

8      A.     Yes.    I called him "CJ."

9                     MR. LEVITT:    And then I would play, your

10     Honor, Exhibit 11, which has been previously admitted.

11     It's the recorded telephone conversations from January

12     7th.

13                    THE COURT:    And is it Exhibit 12 that

14     corresponds with that?

15                    MR. LEVITT:    Correct.

16              So this is audio from Mr. Hohler.

17                    (Plays audio and videotape.)

18                    MR. LEVITT:    So it just comes up as tracks.

19                    (Plays audio and video.)

20     Q.     Is that your voice?

21     A.     Yes.

22     Q.     (Plays audio.)     Whose voice is that?

23     A.     CJ's.

24     Q.     Curtis Hester's?

25     A.     Yes, sir.
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 1                   (Continues to play.)

 2     Q.     Mr. Finley, what's that reference to 7-4?

 3     A.     Um, 7 grams of crack.

 4     Q.     When you say, "Yo, it's pop and fan, fucking 7-4,"

 5     do you know what that is?

 6     A.     It's basically like "What's up?" basically.

 7     Q.     When you ask for the "7 hard," what are you asking

 8     for?

 9     A.     7 grams of crack.

10                   (Continues to play.)

11     Q.     Mr. Finley, is 325 high for 7 grams of crack?

12     A.     Yes.

13     Q.     And when you say that you charged that nigga 350,

14     and you would call back, who are you talking about?

15     A.     About the officers, basically.

16     Q.     You pretend you have somebody you're selling to?

17     A.     Yes.

18     Q.     And, um, so then you talk to the officers about, "Do

19     you want me to do this or not"?

20     A.     Yes.

21     Q.     (Continues to play.)      I'm sorry.     (Plays.)

22                   MR. LEVITT:     And now, Mr. Hohler, with the

23     video.

24              And that would be, your Honor, the correlating

25     exhibit would be Exhibit 14.
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 1                  (Plays video.)

 2     Q.   Who is that?

 3     A.   CJ.

 4     Q.   Curtis Hester?

 5     A.   Yes.

 6                  (Plays video.)

 7                  MR. LEVITT:      Your Honor, I would just like to

 8     play that again.       I wonder if you could turn it up just

 9     a bit.

10                  THE COURT:      Okay.

11                  (Plays video.)

12     Q.   Mr. Finley, that last part we just heard, who are

13     you talking to?

14     A.   I'm talking to one of the officers.

15     Q.   And why are you telling him that?

16     A.   Basically because that's the government's money.

17     Q.   You're just giving it to Hester?

18     A.   Yes.

19     Q.   And, um, when you started doing this description --

20     when you started talking, how were you -- what were you

21     seeing behind you?

22     A.   Moynihan's truck, basically.          I was looking through

23     the rear view mirror.

24     Q.   You didn't know it was Moynihan's truck at that

25     time?
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 1     A.     No.

 2     Q.     Did you know Moynihan at that time?

 3     A.     No.

 4     Q.     You're looking through the rear view mirror?

 5     A.     Yes, sir.

 6     Q.     And at some point did you change how you were

 7     watching?

 8     A.     Yes.

 9     Q.     How did you change?

10     A.     I went from looking through the rear view mirror to

11     actually turning around and taking a good look.

12     Q.     And did you get a better view of the person behind

13     you in the white Chevy through the rear view mirror or

14     when you turned around and looked?

15     A.     When I turned around and looked.

16     Q.     And when did you turn around and look, looking at

17     the transcript, approximately when?

18     A.     Um, right after I basically said "a Puerto Rican

19     male," because I didn't think he was actually Puerto

20     Rican because of the tint through the glass.               So

21     basically right after I gave, the second time, the

22     license plate, I actually was like staring directly at

23     him.

24     Q.     So when you said "383HA8," you turned around again

25     and looked?
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1      A.   Yes.

2      Q.   And at that time could you tell whether the guy

3      behind you was a white male or a Puerto Rican male?

4      A.   Yes.

5      Q.   And what was he?

6      A.   White.

7                    (Plays video.)

8      Q.   What did Mr. Hester just hand you?

9      A.   Crack.

10                   (Continues to play.)

11     Q.   Mr. Finley, um, do you have any understanding as to

12     what it means when Hester says that "that shit just came

13     out of the pot right now, a little while ago"?

14     A.   Basically he just meant that he just cooked, he just

15     got done preparing it.        Cooking it basically.

16     Q.   And when you say on the same page, when you said,

17     "you didn't use too much cut on it," what does that

18     mean?

19     A.   Meaning that it was a lot purer than the normal

20     person would give you to try to make money.

21     Q.   And you see -- you heard when Mr. Hester said, um,

22     "Probably tomorrow I could get that cheaper.               I could

23     call my other man.       You know what I'm saying?"          You

24     understood Mr. Hester had other suppliers for crack?

25                   MR. SULTAN:     Objection.
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 1                  THE COURT:      Sustained at this point.

 2     Q.   Prior to January 7th, had you made a crack buy from

 3     Mr. Hester before?

 4     A.   Yes.

 5     Q.   And did he go to somebody else other than Moynihan?

 6     A.   Yes.

 7                  MR. SULTAN:      I object to the form of the

 8     question, your Honor, and I belatedly move to strike the

 9     answer.

10                  THE COURT:      It's belated.      Overruled.

11                  MR. LEVITT:      Your Honor, with permission I'd

12     like to play the third telephone conversation excerpt,

13     January 11th, 2010, and those correlate with Exhibits

14     16A, B and C.

15                  THE COURT:      Okay.

16     Q.   During all these telephone conversations we're

17     playing, um, where are you when this is going on?

18     A.   I'm with the agents or with CJ.

19     Q.   For the telephone calls?

20     A.   Oh, the telephone calls?          I'm with the agents.

21     Q.   So I'd ask you to turn to Exhibit 16.

22     A.   Yes.   (Turns.)

23                  MR. LEVITT:      Your Honor, I'm sorry, I

24     neglected to do something.           I would do it here before I

25     move on.
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1                   (Pause.)

2                   MR. LEVITT:      And, Mr. Hohler, I'll need the

3      document camera.       My apologies.

4      Q.   After the buy on January 7th that we just discussed,

5      did you meet with the agents?

6      A.   Yes.

7      Q.   Did they show you a photograph?

8      A.   Yes.

9      Q.   Let me show you what's been marked, what has been

10     admitted as Government Exhibit 29.            Do you recognize

11     that?

12     A.   Yes.

13     Q.   Um, is that the photograph they showed you that day?

14     A.   Yes.

15     Q.   And when they showed you that, did you recognize

16     that person?

17     A.   Yes.

18     Q.   Who is it?

19     A.   Timothy Moynihan.

20     Q.   At that time did you know his name?

21     A.   No.

22     Q.   At that time -- did you recognize him at that time?

23     A.   Yes.

24     Q.   Who did you recognize it to be?

25     A.   It's CJ'S connection.
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1      Q.     Was that the guy in the white Chevy Trailblazer that

2      day?

3      A.     Yes.

4      Q.     And what's that right there pointing to?

5      A.     "Schwinn."

6      Q.     Is that your code name?

7      A.     Yes.

8      Q.     Did you sign that?

9      A.     Yes.

10     Q.     And date it?

11     A.     Yes.

12     Q.     Do you see, in the courtroom, the person that was in

13     the white Chevy Trailblazer on January 7th that CJ met

14     with?

15     A.     Yes.

16     Q.     And would you point him out and describe an article

17     of clothing.

18     A.     A blue tie.    A blue suit.

19     Q.     Can you point to him?

20     A.     (Indicates.)

21                   MR. LEVITT:     May the record reflect the

22     witness has identified the defendant?

23                   THE COURT:     Yes.

24                   MR. LEVITT:     Now we're on to telephone calls

25     from January 11th, 2010 and the transcripts at 16.
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1               And, I'm sorry, Mr. Hohler, let me get it back to

2      the --

3                   (Plays video.)

4      Q.   Do you recognize the voices on these tapes as well?

5      A.   Yes.

6      Q.   And who are they?

7      A.   Me and CJ.

8      Q.   And when you say, "I'll see if I can bless you with

9      something," what do you mean?

10     A.   Basically give up some money or something like that.

11     Q.   In the middle of the deal?

12     A.   Yup.

13                  (Continues playing.)

14     Q.   Mr. Finley, what's that reference to "7 of hard and

15     7 of soft"?

16     A.   A 7-gram bag of coke and a 7-gram bag of crack,

17     basically.

18

19                  (Continues playing.)

20                  MR. LEVITT:      Should be on 16E.

21                  (Continues playing.)

22     Q.   And, Mr. Finley, what do you mean when you say

23     you're going to "show him a little love today"?

24     A.   Basically throw him a few bucks for being a middle

25     man, basically.
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 1                   MR. LEVITT:     And then go to the video for

 2     January 11th, which corresponds with Exhibit 18.

 3                   (Plays video.)

 4                   MR. LEVITT:     Your Honor, I'm having a

 5     technical glitch here on January 11th with the video.

 6     So what I'm going to do is move to the 13th and we'll

 7     come back to this.

 8                   THE COURT:     Okay.    Thank you.

 9                   (Pause.)

10                   MR. LEVITT:     Oh, Mr. Sultan wisely corrected

11     me that there is no video for the 11th.             That's the one

12     that's all audio.

13                   THE COURT:     That's the one that malfunctioned?

14                   MR. LEVITT:     That's correct.       Thank you.

15                   THE COURT:     So which exhibit?

16                   MR. LEVITT:     It's Exhibit 17.       And it's

17     audio.      And it correlates with Exhibit 18.

18                   (Plays audio.)

19     Q.   Do you recognize the voices on this tape?

20     A.   Yes, I do.

21     Q.   And whose are they?

22     A.   Mine and CJ's.

23     Q.   And it's at your car at this point?

24     A.   Yes.

25                   (Plays audio.)
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1      Q.     Mr. Finley, do you remember this paragraph here

2      where, um, Mr. Hester is talking?            Do you remember who

3      he's talking to?

4      A.     I believe he was talking to, um -- to one of his

5      brothers, I believe.

6      Q.     Is he on the phone?

7      A.     Yes.

8                    (Plays audio.)

9                    MR. LEVITT:     That went all the way back to the

10     beginning.

11                   (Plays audio.)

12                   MR. LEVITT:     All right.     That's it.

13                   (Plays audio.)

14     Q.     You and Hester are talking there about the white

15     SUV.     Do you recall that?

16     A.     Yes.

17     Q.     And what are you guys looking at there?

18     A.     The SUV basically when it passed the truck and CJ

19     was saying, like, you know, "That's my truck right

20     there," I knew.

21     Q.     And did you recognize that white SUV?

22     A.     Yes.

23     Q.     And what did you recognize it as?

24     A.     Moynihan's truck.

25     Q.     The same one from January 7th?
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                                                                          114




1      A.   Yes.

2                   (Plays audio.)

3      Q.   Do you remember if Mr. Hester was talking on the

4      phone at this point?

5      A.   I believe he was talking on the phone.

6                   THE COURT:      Excuse me.     What was your answer,

7      please?

8                   THE WITNESS:      I believe he was talking on the

9      phone.

10                  (Plays audio.)

11                  MR. LEVITT:      Sorry about that, your Honor.

12                  (Continues playing.)

13     Q.   You're saying here, "They left in a white truck, the

14     same white truck," you say the license plate.               What are

15     you talking about?       Who are you talking to?

16     A.   Um, I'm talking to the agents and I was saying it's

17     the Moynihan truck.

18     Q.   And did you see Moynihan on that buy as well?

19     A.   Yes.

20     Q.   And was it the same person that you identified

21     earlier?

22     A.   Yes.

23     Q.   And, um, Mr. Hester gets in the car.             Does he give

24     you anything?

25     A.   Um, I'm not even sure.         Oh, when he gets back into
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 115 of 126
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 1     the truck?

2      Q.   When he gets back into the truck.

 3     A.   Yes, he gives me the crack.

 4     Q.   And is that -- what's the reference to that "thick

5      shit," when he says, "Yeah, it's that thick shit"?

6                   MR. SULTAN:      I object, your Honor, unless he's

 7     testifying as an expert on drugs.

 8                  THE COURT:      No, the objection is overruled.

9      He would be testifying based on his personal knowledge

10     of what Mr. Hester was giving him or showing to him when

11     he says "this is that."

12            Okay.    You may answer.

13     A.   Yes.    Well, can you repeat the question?

14     Q.   Sure.

15            Do you see where it says, Hester says, um, "Yeah,

16     this is that thick shit."         Do you see that?

17     A.   Yes.

18     Q.   Um, was he showing you something?

19     A.   Yes, he was showing me the crack inside the bag.

20     Q.   And did he also give you cocaine on this deal?

21     A.   Yes.

22     Q.   And -- before Mr. Hester got out of the car to go,

23     um, meet with Moynihan, did you give him anything?

24     A.   Yes, I gave him the money.          I counted it and then

25     handed it to him.
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 1     Q.   And did you do that on January 7th as well before he

 2     got out of the car and met with Moynihan?

 3     A.   Yes.

 4                  MR. LEVITT:      I'll play Exhibit 19, the

 5     recorded conversations from January 13th, 2010, and they

 6     would correlate with Exhibit 20, the transcripts.

 7                  (Plays audio.)

 8     Q.   Mr. Finley, do you recognize the voices on that?

 9     A.   Yes.

10     Q.   And who are they?

11     A.   Mine and CJ's.

12                  (Continue playing.)

13                  MR. LEVITT:      Your Honor, I apologize.         This is

14     for some reason stuck on the same one.

15                  (Continue playing.)

16                  THE COURT:      Maybe we ought to just go through

17     it again and see if it advances.

18                  (Continue playing.)

19                  MR. LEVITT:      Apparently not, your Honor.          I'll

20     take a look at it and see if I can get it resolved and

21     then move on.

22                  THE COURT:      Okay.    But if we don't play that

23     audio, Page 20b will have to come out of the books.

24                  MR. LEVITT:      Correct, your Honor.        I

25     understand.
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 1            I'll play the excerpt of the recorded video on

 2     January 13, 2010.       It's Exhibit 21.       It correlates with

 3     Exhibit 22.

 4                  (Plays video.)

 5     Q.   What are you talking about there, Mr. Finley?

 6     A.   I was basically talking like I had somebody waiting

 7     for me, basically.

 8     Q.   It's part of your cover?

 9     A.   Yes.

10                  (Continue playing.)

11     Q.   Who is Shawn Do?

12     A.   A person he gets weed off of.

13                  (Continue playing.)

14     Q.   Mr. Finley, you mentioned that Hester gets weed off

15     of Shawn Do?

16     A.   Yes.

17     Q.   Do you know if he ever gets crack off of him?

18     A.   I'm not sure.      I would suppose.

19     Q.   You would suppose?

20     A.   Yes.

21                  (Continue playing.)

22     Q.   When you say you "got the bud," what are you

23     referring to?

24     A.   Weed.

25                  (Continue playing.)
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 118 of 126
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 1     Q.   What are you referring to when you say there, "You

2      can roll in here, you just can't burn in here"?

3      A.   Basically that you can roll the weed in the truck,

 4     but you can't smoke it in the truck, basically.

 5     Q.   And when Hester says, "I don't got no dutch," what's

 6     dutch?

7      A.   A blunt.

8      Q.   It's what you put the weed in?

 9     A.   Yes.    A dutch master.

10     Q.   It's like a cigar?

11     A.   Yes.

12                  (Continue playing.)

13     Q.   Do you know who "N-O-R-I" is?

14     A.   Yes, that was one of his buddies that lived in

15     Haverhill.

16     Q.   What's that guy's name?

17     A.   Um, Nori.

18                  (Continue playing.)

19     Q.   And Mr. Hester said, looked over his shoulder and

20     said, "Yo, that's him right there."            Did you see what he

21     was looking at?

22     A.   Yeah, that's Timothy Moynihan's white truck.

23                  (Continue playing.)

24     Q.   When you say "same guy," who are you referring to?

25     A.   Timothy Moynihan.
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 1     Q.   The same guy as on the prior bust?

 2     A.   Yes.

 3                  (Continue playing.)

 4     Q.   What was Hester just doing with that guy at the

 5     window?

 6     A.   Basically just sold him a dime bag of weed.

 7     Q.   What's that phrase when he says "your only work,"

 8     what's "work"?

 9     A.   Like product.      Basically like, "Is this your only

10     bag of weed?" or "Is this your only ball?"              Like that.

11                  (Continue playing.)

12     Q.   After Mr. Hester sold that guy the dime bag, did you

13     guys go get some more weed?

14     A.   I'm not sure.      I don't believe he did.         He just went

15     in and grabbed the material.          He was ready.

16     Q.   Do you recall if you smoked weed with Mr. Hester on

17     this day?

18     A.   I'm not really sure.        It was two years ago.         But I

19     know I smoked on two of the buys at least.

20     Q.   When you smoked weed on the buys, did the agents

21     talk to you about it?

22     A.   Yes.

23     Q.   What did they say?

24     A.   Basically not to do it.

25     Q.   And what did you say?
     Case 1:10-cr-10288-MLW Document 205 Filed 09/10/12 Page 120 of 126
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1      A.   That that basically messed up my cover, basically.

2      Like they know I smoke weed.          So if I tell them, no,

3      they are going to be basically, "What's up with that?"

4      Q.   Did the agents give you any instructions or advice

5      on how to get around that?

6      A.   Yes, basically to tell them I can't do it in the

7      truck basically.

8      Q.   Anything else?

9      A.   Basically tell them that I couldn't smoke really

10     right now.      That I'm trying to get money.

11     Q.   That didn't work?

12     A.   No.

13                   (Continue playing.)

14     Q.   What are you referring to there?           What are you guys

15     looking at there when you say, um, "What is this plastic

16     bag?"      And he says, "No, that shit looks straight,

17     dog."      Then you say, "It's solid."        And he says, "It's

18     that thicky thick."        What are you guys talking about?

19     A.   The crack.

20                   (Continue playing.)

21                   MR. LEVITT:     Your Honor, Government Exhibit 23

22     is the telephone conversations from January 15th and

23     correlating Exhibits 24.

24                   (Plays audio.)

25     Q.   Who are you talking to there?
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1      A.   One of the agents.

2                   (Continue playing.)

3                   MR. LEVITT:      Exhibit 25, your Honor, with 26

4      on the transcript.

5                   (Plays video.)

6      Q.   Do you recognize the voices here?

7      A.   Yes.

8      Q.   Whose voices are we hearing?

9      A.   Mine and CJ's.

10     Q.   So you guys are talking on the direct connect?

11     You're in the car?

12     A.   Yes.

13     Q.   And he's not there yet?

14     A.   No.

15                  (Continue playing.)

16                  THE COURT:      Um, I think we've got about 4 more

17     pages on the transcript and it's almost 1:00.               Do you

18     have any idea how much longer the rest of this one will

19     take?

20                  MR. LEVITT:      No, I'm going to play the

21     transcript, I might ask one or two more questions and

22     then I'm done.

23                  THE COURT:      Right now we're listening to what

24     I understand is music?

25                  MR. LEVITT:      This section right here.
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1                   THE COURT:      No, the whole rest of the tape?

2                   MR. LEVITT:      How long is the tape going to

3      take?    I don't know, your Honor.         I can't remember.          I

4      don't think it's that long.          This is the buy that they

5      went to Lawrence and they just took a long time.

6                   THE COURT:      Yes, I think we're going to stop

7      right here and you can start at the beginning of Exhibit

8      26 tomorrow morning, because I did tell the jury we

 9     would stop today at 1:00, and we will.

10              Ladies and gentlemen, I am going to excuse you for

11     today.    Please remember to continue to keep an open

12     mind, don't discuss the case among yourselves or with

13     anybody else, don't communicate about the case with or

14     through the social media, or read or listen to or

15     research anything relating to the case.             You did a great

16     job getting back here at 9:00 a.m. this morning.                   Do it

17     again tomorrow morning.         I hope we'll start again

18     promptly and we'll continue into the afternoon to make

19     sure that we're on a pace to finish around the time that

20     I predicted when you were selected.

21              The Court will be in recess for the jury.

22                  (Jury leaves, 1:00 p.m.)

23                  THE COURT:      Mr. Finley, you're excused until

24     9:00 tomorrow morning.

25                  (Witness leaves.)
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 1                  THE COURT:      You may be seated.

 2              All right.    Tomorrow the witnesses after

 3     Mr. Finley will be who?

 4                  MR. LEVITT:      Um, Sean Richards.        Ms. Vasapoli,

 5     who is Commerce Insurance.           And, um, I think at that

 6     point it would likely be Mr. Mahoney after that.                   I

 7     mean, the only witnesses I have left, your Honor, just

 8     to give you the full spectrum, is after Mahoney is

 9     Doucot and possibly Wood, the expert.

10                  THE COURT:      You're not sure you're going to

11     call Mr. Wood?

12                  MR. LEVITT:      I'm not sure.

13                  THE COURT:      Okay.    And are there disputed

14     exhibits beyond the Commerce exhibits relating to

15     Richards and Mahoney at this point?

16                  MR. LEVITT:      I don't think there's anything in

17     dispute.     But just to clarify your ruling or what you

18     advised us with respect to the two photographs that, um,

19     Richards identified, that of Mr. Mahoney -- of

20     Mr. Moynihan, my recollection is, one, that they should

21     be redacted completely, which they have been, and,

22     two --

23                  THE COURT:      You're talking about the booking

24     photos?

25                  MR. LEVITT:      Correct.
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 1                  THE COURT:      So you'll take off all the text

 2     and just keep the photos?

 3                  MR. LEVITT:      Correct.

 4                  THE COURT:      My memory is I told you that he

 5     could say he looked at three photos and --

 6                  MR. LEVITT:      If I could say, the question is

 7     --

 8                  THE COURT:      Go ahead.

 9                  MR. LEVITT:      The question is you said that,

10     and then I proposed, "Can I have him look at those two,

11     mark them for identification, and not introduce them?"

12     And you didn't say anything.

13                  THE COURT:      Yes, you can.      Well, for

14     identification.      They wouldn't go in as exhibits.

15                  MR. LEVITT:      Right, they don't go in.         And

16     then I would say, basically, "What's the most recent

17     one?"    He would say the RMV photo.          And that's the one

18     that we would use.

19                  THE COURT:      Yes.   All right.      I'll listen to

20     the questioning about Commerce.

21             All right.     So hopefully we'll get through those

22     four today.     Doucot is the last -- I'm sorry, tomorrow,

23     Doucot is the last witness.

24             Does the defendant anticipate presenting any

25     evidence?
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1                   MR. SULTAN:      Your Honor, I'm likely to present

2      either one or two witnesses with respect to the

3      reenactment and some related photographs, since the

4      government brought the reenactment up.             So I'm not

5      completely decided yet, but I would probably call one or

6      two witnesses on that one narrow issue.

7                   THE COURT:      So on that schedule, we ought to

8      finish the evidence on Monday then?

9                   MR. SULTAN:      I think we'll finish on Monday,

10     your Honor.

11                  MR. LEVITT:      I think so.

12                  THE COURT:      Well, I'm going to start looking

13     at the jury instructions.         And there have been some

14     nuances that are emerging today, so I may want to have

15     some discussion with you about that later tomorrow

16     afternoon, no later than on Monday, and hopefully we'll

17     get to the jury on Tuesday morning.

18            Anything further for today?

19                  MR. SULTAN:      No, your Honor.

20                  THE COURT:      The Court will be in recess.

21                  (Adjourned, 1:00 p.m.)

22

23

24

25
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1                           C E R T I F I C A T E

2

3

4             I, RICHARD H. ROMANOW, OFFICIAL COURT REPORTER, do

5      hereby certify that the foregoing record is a true and

6      accurate transcription of my stenographic notes, before

7      Chief Judge Mark L. Wolf, on Wednesday, October 26,

8      2011, to the best of my skill and ability.

9

10

11     /s/ Richard H. Romanow 09-07-12
       __________________________
12     RICHARD H. ROMANOW Date

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